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                   UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF CALIFORNIA
                      SAN FRANCISCO DIVISION




FEDERAL TRADE COMMISSION              Case No. 3:23-cv-02880-JSC

          Plaintiff,

     v.

MICROSOFT CORPORATION and
ACTIVISION BLIZZARD, INC.,

          Defendants.




                DIRECT TESTIMONY OF ROBIN S. LEE, PHD



                              JUNE 25, 2023
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Robin S. Lee, PhD, declares as follows:

I. Introduction and assignment

I.A. Qualifications

       1.      I am an economist who specializes in the field of industrial organization.

Industrial organization studies strategic interactions among firms, market structure, and factors

that affect competition. I received my undergraduate and graduate degrees from Harvard

University, receiving my AB in Economics in 2003, my AM in Economics in 2005, and my PhD

in Business Economics in 2008.

       2.      I am currently a Professor of Economics in the Department of Economics at

Harvard University and regularly teach courses in industrial organization to both graduate and

undergraduate students. Previously, I served on the faculty at New York University’s Stern

School of Business. I have published 12 articles in peer-reviewed economic journals. Much of

my work has examined relationships between firms producing complementary goods in “vertical

markets.” This includes:

   •   A 2013 paper examining the effects of vertical integration and exclusivity in the video

       game industry that was published in the American Economic Review, one of the leading

       journals in the economics profession;

   •   A 2017 paper examining bargaining and negotiations among suppliers and purchasers of

       health care services that received the Econometric Society’s Frisch medal, an award

       presented biennially for the best applied paper published in the previous four years in

       Econometrica, another leading journal in the economics profession;

   •   A 2018 paper examining the welfare effects of vertical integration in the multichannel

       television industry published in Econometrica;



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    •   A co-authored chapter in the most recent Handbook of Industrial Organization covering

        recent advances in the empirical analysis of contracting in vertical markets.

        3.      I have received other awards of recognition for my academic work on antitrust

and competition policy, including the American Antitrust Institute’s award for Best Antitrust

Article on Mergers and the Association of Competition Economics’ Best Paper Prize.

        4.      I am a co-editor of the American Economic Journal: Microeconomics and have

served as an Associate Editor of the International Journal of Industrial Organization, both of

which are top journals in the field of industrial organization.

        5.      I am offering my opinions as an economic expert and have been assisted by staff

at Bates White LLC. My curriculum vitae is attached as Appendix A.

I.B. Assignment

        6.      I have been asked by counsel for the FTC to evaluate the likely competitive

effects of Microsoft Corp.’s proposed acquisition of Activision Blizzard, Inc. (“Proposed

Transaction”). I submitted two expert reports in this matter that present my opinions and explain

my bases for these opinions.1 My initial report is attached as Exhibit 1, and my reply report is

attached as Exhibit 2.

I.C. Summary of opinions

        7.      First, High-Performance Video Game Consoles and Video Game Consoles

(collectively, “Consoles Markets”) and Content Library and Cloud Gaming Services, Content

Library Services, and Cloud Gaming Services (collectively, “Gaming Services Markets”) are

relevant antitrust product markets for analyzing the competitive effects of the Proposed

Transaction. The United States is a relevant geographic market for each relevant product market.


1
       PX5000 (Corrected Expert Report of Robin S. Lee, PhD, May 26, 2023 [hereinafter “Expert Report”]);
PX5001 (Expert Reply Report of Robin S. Lee, PhD, June 9, 2023 [hereinafter “Expert Reply Report”]).

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       8.      Second, as a result of the Proposed Transaction, the combined firm (“Merged

Entity”) would have the ability and likely economic incentive to foreclose Microsoft Corp.’s

(“Microsoft”) rivals in each relevant market from Activision Blizzard, Inc. (“Activision”)

content. As to ability, the Merged Entity would be able to withhold Activision content from, or

degrade Activision content to, Microsoft’s rivals in each relevant market, which would

meaningfully harm their competitiveness and consumer demand for their products. As to

incentive, the Merged Entity would (i) have a greater economic incentive to engage in

foreclosure than an independent Activision in each relevant market; and (ii) the Merged Entity

would likely have the economic incentive to engage in foreclosure by withholding Activision

content from, or degrading Activision content to, Microsoft’s rivals in each relevant market.

       9.      Third, relative to the “but-for world” without the merger in which Activision

remains independent, the Proposed Transaction would likely lead to foreclosure of Activision

content in each relevant market, generating competitive and consumer harm arising from: (i) less

content or degraded content on Sony Group Corporation’s (“Sony”) PlayStation consoles,

leading to lower-quality or higher-priced products and reduced consumer choice in the Consoles

Markets, and (ii) a reduced likelihood of Activision content supporting additional content library

and cloud gaming services not offered by (or in an existing agreement with) Microsoft, likely

leading to lower-quality or higher-priced products, reduced choice, and lessened innovation in

the Gaming Services Markets.

       10.     Fourth, the Proposed Transaction is unlikely to result in benefits that are

cognizable (verifiable, merger-specific, and not arising from an anticompetitive reduction in

output or services) and sufficient to eliminate or offset the likely harms arising from foreclosure.

Further, Microsoft’s 2023 agreements with Nintendo Co., Ltd. (“Nintendo”) and certain cloud



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gaming service providers are insufficient to eliminate or offset likely competitive and consumer

harm arising from the Proposed Transaction.

        11.      I have reviewed the reports of Defendants’ economic experts, Dr. Elizabeth Bailey

and Prof. Dennis Carlton. Their opinions do not change my conclusions.

II. The merging parties and industry background

II.A. Video game consoles

        12.      Microsoft, among its many lines of business, produces and sells Xbox video game

consoles. Video game consoles (“consoles”) are consumer devices that are primarily used to play

video games. Since the 2001 release of the original Xbox console, Microsoft has released four

generations of Xbox consoles. The latest generation of Xbox consoles are the Xbox Series X and

Series S consoles (collectively, “Series X|S”), released in November 2020.

        13.      Microsoft, Sony, and Nintendo produce the most popular consoles available

today. The video game industry has adopted the convention of grouping releases of video game

consoles into generations. As Microsoft has represented: “Today, consoles are in their so-called

‘ninth generation,’ following the releases of the Sony PlayStation 5 and Xbox Series X|S in

November 2020.”2 The PlayStation 5, also released in November 2020, is the latest generation of

Sony’s PlayStation consoles. Nintendo sells the Switch, a console released in 2017 and viewed

by many industry participants, including Microsoft, as a Generation 8 (or 8.5), and not

Generation 9, console.3


2
         PX0003 at -105 (Microsoft FTC Second Request response, Jul. 1, 2022). See also PX7040, Deposition of
Tim Stuart, Mar. 28, 2023 [hereinafter “Stuart Depo. Tr.”] at 110:6–111:17, 143:16–144:20, 145:17–146:5; PX7053,
Deposition of Jim Ryan, Volume I, Apr. 6, 2023 [hereinafter “Ryan Depo. Tr. (Vol. I)”] at 14:2–10; PX7048,
Deposition of Matthew Booty, Mar. 29, 2023 at 136:5–137:7; 137:20–138:14; PX7036, Deposition of Satya
Nadella, Mar. 20, 2023 [hereinafter “Nadella Depo. Tr.”] at 111:4–112:2.
3
         PX1888 at -036 (email correspondence and attachment, Dec. 2021) (Microsoft slide deck stating that
“Nintendo Switch and Gen8 consoles are excluded” in calculating “Console Gen9 Share – Relative market share
between Xbox Series X|S and PlayStation 5 in key markets”); PX1747 at -009 (email correspondence and


                                                       5
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        14.      Microsoft publishes video games through Xbox Game Studios, comprising 23

game development studios, including 8 studios that were included in Microsoft’s acquisition of

ZeniMax Media Inc. (“ZeniMax”), announced in September 2020 and finalized in March 2021.

        15.      Games developed and published by a console manufacturer for their own consoles

are referred to as “first-party” games; games published by independent publishers for a console

manufactured by another firm are referred to as “third-party” games.

II.B. Content library and cloud gaming services

        16.      Microsoft’s Xbox Game Pass subscription service, launched in 2017, is available

in three tiers. Game Pass for Console gives subscribers access to a content library of over 300

first-party and third-party games for download to play on an Xbox console; Game Pass for PC

provides access to a library of games for download to play on a Windows PC. The highest tier,

Game Pass Ultimate, provides access to a library of games for both Xbox consoles and Windows

PCs, which subscribers can download to play. The Ultimate tier also provides cloud gaming

capability through Microsoft’s Xbox Cloud Gaming service (originally codenamed Project

xCloud), allowing subscribers to play certain games by streaming from a remote server to any

supported web-enabled device such as an Xbox console, PC, mobile device, or smart TV.

        17.      Other content library services available today include PlayStation Plus (Extra and

Premium tiers), Nintendo Switch Online, Amazon.com, Inc.’s (“Amazon”) Luna+, EA Play from

Electronic Arts, Inc. (“EA”), and Ubisoft+ from Ubisoft Entertainment SA (“Ubisoft”).

        18.      In addition to Xbox Game Pass Ultimate, certain other gaming services bundle

content library services and cloud gaming services together, including PlayStation Plus Premium



attachment, Aug. 2022); PX2415 at -002–004 (Activision executive summary) (Activision white paper on the

                                                      See also PX7053, Ryan Depo. Tr. (Vol. I) at 21:9–14,
21:21–22:3.

                                                      6
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and Amazon Luna+.4 Gaming services that offer cloud gaming services without content library

services include Nvidia GeForce Now and enable consumers to stream games that they already

own using a bring-your-own-game (“BYOG”) approach. Importantly, even with a BYOG

approach, cloud gaming service providers must obtain permission from video game publishers to

stream their games through the services.

II.C. Video games

        19.      Activision develops and publishes video games for consoles, PCs, and mobile

devices. Microsoft often refers to Activision, along with EA, Take-Two Interactive Software, Inc.

(“Take-Two”), and Ubisoft, as one of the “Big 4” independent video game publishers.5

        20.      Activision’s most successful video game franchise is Call of Duty, a first-person

shooter video game series playable on video game consoles and PCs. Since its first release in

2003, Call of Duty has become one of the most successful video game franchises in history,

earning approximately $                  in sales revenues annually. The most recent installment in the

franchise, Call of Duty: Modern Warfare II, earned a franchise record of over $                         in

revenue in the first 10 days after its release.

        21.      Activision also produces other popular video games for consoles, including games

from the Diablo, Overwatch, Crash Bandicoot, and Tony Hawk franchises, as well as video

games for other devices, including games from the Candy Crush (for mobile devices) and

Warcraft (for PCs) franchises. Activision’s net revenues in FY2022 were $                         . As of

December 2022, Activision had over                         monthly active users across all its games.




4
         Google LLC (“Google”) offered a content library and cloud gaming service, Google Stadia, but
discontinued it in January 2023.
5
         PX5000 at -030–031 (Expert Report, ¶ 72).

                                                       7
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II.C.1. Video game content drives sales of video game consoles and gaming services

        22.      Both consumers and industry participants acknowledge that content drives sales.

As a 2021 Microsoft document states, “In the business of gaming, content remains king.”6

        23.      Video game sales, revenues, and engagement are concentrated among a relatively

small number of hit “blockbuster” titles and franchises, often referred to as “AAA” games. AAA

games often are high-budget video games that have, or are expected to have, high unit sales and

revenues. They tend to have high-quality graphics and gameplay, have significant marketing and

promotion, and usually require substantial investment and take longer to develop and publish

than those without the AAA description.7 For example, Microsoft Gaming CEO Phil Spencer

testified, “[T]he notion of a AAA game is a game with a high development budget with

presumably a high expectation for … sales and kind of splash when it launches.”8

        24.      Differentiated and exclusive content—i.e., content that is available on one console

or service but not on all of its rivals, even for a short period of time—allows a console or service

to provide a distinct benefit to consumers.9 Exclusive content can be a driver of consumer



6
          PX1070 at -003 (Xbox strategy document, Feb. 2021). See also PX1538 at -005 (email correspondence and
attachment, Feb. 2021); PX1087 at -001 (email correspondence, Jun. 2020) (“Well said, content is king.”);
PX9102 at -009 (Microsoft FY2022 Q2 Earnings Call transcript, Jan. 25, 2022) (“The big bets we have made across
content, community, and cloud over the past few years are paying off… Our differentiated content is driving the
service’s growth, and we released new AAA titles this holiday to rave reviews and record usage.”).
7
          PX4671 at -001 (email correspondence, Feb. 2023) (“AAA games continue to grow in scope and size. The
barrier to entry for a AAA shooter or RPG is very high.”); PX8001 at -008 (Declaration of Jim Ryan, Dec. 5, 2022)
(“Developing and producing AAA games often costs over $100 million, requires hundreds or thousands of
developers, and takes years.”); PX1063 at -003 (email correspondence, Mar. 2020).
8
          PX7011, Investigational Hearing of Phil Spencer, Volume I, Oct. 11, 2022 [hereinafter “Spencer IH Tr.
(Vol. I)”] at 36:24–37:3. See also PX7011, Spencer IH Tr. (Vol. I) at 37:8–21; PX7040, Stuart Depo. Tr. at 56:12–
13 (“Yeah.· From my perspective, I look at it AAA being high users, high engagement, high hours.”); PX7042,
Deposition of Jamie Lawver, Mar. 27, 2023 [hereinafter “Lawver Depo. Tr.”] at 180:6–10 (“So for me, AAA means
the larger budget, bigger reach, the bigger games, higher quality, like that’s what AAA means to me. And those
games typically have the most reach and most engagement.”); PX7056, Deposition of Diarmuid Murphy, Apr. 7,
2023 at 195:9–16 (“And, so, I would look at some of the titles below like Red Dead Redemption 2 from Rockstar,
Fallout 4 those were some of the best selling games and biggest and most expensive games made in the year they
came out. So those would qualify as AAA and major AAA.”).
9
          See PX7031, Deposition of Aaron Greenberg, Mar. 14, 2023 [hereinafter “Greenberg Depo. Tr.”] at 75:24–
76:22.

                                                        8
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console purchase decisions: as the same Microsoft document referenced above states, “If the

content any player wants to play is not available on our platform, even the best Xbox fans will

use another platform to play those games.”10

         25.      Exclusive games can also influence consumers’ beliefs over which products will

have attractive content in the future.11 Exclusive games also increase differentiation between

consoles or gaming services, tending to soften competition faced by these products. This can

allow the consoles or gaming services to charge higher prices to consumers and negotiate more

advantageous terms with other content providers.

         26.      There is ample evidence that industry participants acknowledge video game

content availability and quality as one of the most important determinants of whether consumers

purchase a video game console. For example, a 2019 Microsoft document regarding a potential

acquisition of                   explains that “having access to relevant content is one of the single

most important drivers in … console growth.”12 Likewise, a 2021 Sony presentation on demand

for PlayStation 5 consoles states, “

                                                                                                      .”13

         27.      Evidence indicates that content quality and availability are similarly important for

gaming services. For example, a November 2020 Microsoft strategy document circulated by

Microsoft Gaming CEO Phil Spencer to Microsoft CEO Satya Nadella and CFO Amy Hood




10
         PX1070 at -002 (Xbox strategy document, Feb. 2021).
11
         PX1075 at -001 (West email correspondence, Jan. 2020) (“There is a belief that Xbox has an exclusive
content quality gap vs. Sony, whether real or not – perception in this case is reality in the mind of the consumer.”);


12
        PX1136 at -004 (email correspondence and attachments, Nov. 1, 2019). See also PX1102 at -001 (email
correspondence, May 2021); PX5000 at -047–48 (Expert Report, ¶ 106).
13



                                                           9
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explains that “[c]ontent is the primary engine behind subscription growth,”14 in particular,

differentiated content.15 In addition, a declaration from Phil Eisler, Vice President and General

Manager of Nvidia GeForce Now, likewise observes, “Access to AAA titles, which are the latest,

most-popular gaming franchises, is critical to the success of any gaming platform.”16

II.C.2. Activision content is an important driver of console and gaming service sales

         28.     Documentary evidence from Activision and Microsoft indicates that Activision

content is a particularly important driver of console and gaming service sales and engagement:

     •   A 2019 Microsoft document sent among members of the Xbox leadership team (including

         Microsoft Gaming CEO Phil Spencer, CFO Tim Stuart, and Corporate Vice President of

         Game Creator Experience and Ecosystems Sarah Bond) that discusses terms to put

         content on Xbox Series X|S consoles states that Activision “considers themselves

         ultimate ‘kingmakers’, entitled to share in platform economics” (emphasis added).17

     •   A 2019 Activision presentation discussing a potential Activision partnership with

         includes a slide about the
                                                                                             18



     •   A March 2020 Activision slide describing ongoing negotiations with console

         manufacturers is consistent with Activision perceiving the availability of its content as

         potentially generating a “share shift,” or change in the installed base share of PlayStation

         versus Xbox consoles,                                                 .19



14
        PX1065 at -015–016 (email correspondence and attachment, Nov. 2020) (“Achieving our subscriber
ambitions is predicated on our ability to create value for our members and partners, beginning with continued
investment in content.”).
15
        PX1065 at -002, -003, -015–017 (email correspondence and attachment, Nov. 2020).
16
        PX8000 at -006 (Declaration of Phil Eisler, Dec. 2, 2022).
17
        PX1019 at -009 (email correspondence and attachment, Aug. 2019).
18
        PX2159 at -007 (email correspondence and attachment, Sep. 2019).
19
        PX2419 at-004 (Activision Blizzard internal presentation, Mar. 2020).

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          30.     Importantly, this evidence also indicates that there is no comparable replacement

for Activision content: if Microsoft and Sony could easily replace Activision content with

alternative content that generated comparable value, then there is no clear economic reason that




          31.     To further investigate the impact of Activision content on shares of console sales,

I developed and estimated an econometric model of consumer demand for video game consoles

and video game titles estimated using Generation 8 sales data (henceforth, “Share model”).24 The

model relates the relative monthly shares of Microsoft Xbox and Sony PlayStation console sales

to the availability and attractiveness of exclusive content on each console. I estimated that

removing a Call of Duty title from PlayStation consoles could increase the share of Xbox

consoles sold over the course of a year, relative to PlayStation consoles, by approximately

                                   . I also estimated that removing a non-Call of Duty Activision title

from PlayStation consoles could increase the share of Xbox consoles sold over the course of a

year by                                                                            .

          32.     As shown in Figure 1, the Share model predicts that making games with higher

unit sales exclusive tends to generate greater changes in Xbox and PlayStation console shares.

The predicted increases in Xbox shares from making Call of Duty titles exclusive are higher than

for many other AAA titles, as Call of Duty game sales are correspondingly higher than for most

other AAA titles.




24
          I do not estimate the model using Generation 9 data due to the more limited time frame (less than 3 years of
available data as opposed to 7) and the prevalence of Generation 9 console shortages which makes it difficult to
relate hardware sales to software availability. PX5000 at -156 (Expert Report, n. 648).

                                                         12
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II.C.3. It is difficult to replace the impact and attractiveness of Activision content

        33.      If a console or gaming service were to lose access to Activision content, there are

limited and likely insufficient alternative options for a console manufacturer or gaming service

provider to replace the impact and attractiveness of Activision content.

        34.      First, it is difficult and costly to develop new, attractive video game content,

especially AAA content.25 Evidence indicates that new, successful video game intellectual

25
         PX8000 at -006 (Declaration of Phil Eisler, Dec. 2, 2022) (“Today’s AAA video games … require tens of
millions of dollars (in some cases over $100 million) and years to produce,”); PX8003 at -005 (Declaration of Dov


                                                        13
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property (“IP”) is challenging and costly to create. Most high-grossing games are part of existing

franchises.26 A 2022 Activision presentation emphasizes that




                                  27
                                       In addition, Jim Ryan, CEO of Sony Interactive Entertainment

(“SIE”), testified that “

                                                                                                                .”28

         35.      Microsoft documents also highlight the scarcity of attractive video game

content.29 For example, a 2020 Microsoft strategy document states, “different than other

entertainment markets, the supply of attractive games is structurally limited. Long development

cycles, progressive industry consolidation, and high average engagement per title translate into a

reduced content supply in gaming relative to music or video.”30 Matt Percy, General Manager of

Content Planning for Xbox, noted in a January 2023 email, “There are relatively few of these

games being released – either by us or by [third parties] – annually.



                                                                           ”31

         36.      Second, it is difficult for console manufacturers and gaming service providers to

add valuable content that is not already available on their products. As I discuss below,



Zimring, Dec. 7, 2022) (“The decision to close Stadia’s internal game studios after less than 14 months of operation
was in large part a result of the increasing costs of creating best-in-class video games.”); PX4721 at tab “Sheet1”
(CMA Annex 028.2, Microsoft Denali analysis) (Showing Activision spent $                     in development costs for
Call of Duty Cold War during 2019–2021 and $                    for Call of Duty Modern Warfare (2019 release)).
26
         In 2022, 8 of the top 10 highest revenue titles for each of Xbox and PlayStation consoles were part of
multi-game franchises. PX5000 at -037–038 (Expert Report, Figure 2, Figure 3).
27
         PX2107 at -043, -080 (email correspondence and attachment, Jun. 2020).
28
29
         See also PX1154 at -001 (email correspondence, Aug. 2021).
30
         PX1065 at -017 (email correspondence and attachment, Nov. 2020).
31
         PX4673 at -002 (email correspondence, Jan. 2023).

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publishers of the most successful third-party video games already have an incentive to support

multiple video game consoles. A June 2021 exchange between Xbox executive James Campbell

and Microsoft Gaming CFO Tim Stuart illustrates the high cost of bringing high-value content to

a video game product, where both executives acknowledge that Microsoft spends “dump trucks

of money” to secure content for Xbox Game Pass.32

       37.     Third, popular multi-homing content that already supports a console or gaming

service cannot serve as a replacement for lost access to Activision content—by definition, such

content is already available on the console or gaming service.

II.C.4. First-party publishers, such as Microsoft, tend to have a greater economic incentive
than third-party publishers to make content exclusive, and have exhibited behavior
consistent with such greater economic incentive

       38.     First-party publishers tend to have a greater economic incentive than third-party

publishers to make content exclusive to their own consoles and gaming services, because

exclusivity tends to drive greater sales for their video game consoles and services.

       39.     Evidence indicates that Microsoft routinely pursues full exclusivity for its first-

party content. Microsoft’s CEO, Phil Spencer, testified that “



                           ”33 Consistent with this testimony, Microsoft’s popular first-party

console franchises such as Halo and Gears of War are exclusive to Xbox consoles and PCs.34

       40.     This behavior extends to acquired studios.

       41.     Following the acquisition of ZeniMax in 2021, Microsoft announced that it

planned to release several future ZeniMax titles, including Starfield and Redfall, exclusively on



32
       PX4365 at -001 (chat transcript, Jun. 2021).
33
       PX7011, Spencer IH Tr. (Vol. 1) at 360:2–362:13.
34
       PX5000 at -195 (Expert Report, ¶ 522).

                                                    15
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Xbox consoles and PCs.35 Evidence indicates that, prior to the ZeniMax transaction, Starfield

and Redfall were originally planned for release on PlayStation 5 consoles alongside Xbox and

PCs.36 A member of the Xbox finance team, Jamie Lawver, testified that, in November 2021, she

was informed that Mr. Spencer told Jamie Leder, CEO and President of ZeniMax, that “all future

content is Xbox exclusive” and that she discussed the financial implications of the decision with

Microsoft Gaming CFO Tim Stuart.37

         42.      Microsoft also acquired a series of game studios in 2018 and 2019, including

Ninja Theory, Double Fine, Obsidian Entertainment (“Obsidian”), and inXile Entertainment.38

Microsoft’s internal documents stated that although existing commitments to other gaming

products would be honored, “going forward these new studios will focus on making games for

our console and we have no plans to expand our exclusive first party IP to other consoles.”39

Consistent with this, Obsidian games Grounded (which offers multiplayer play) and Pentiment

launched exclusively on Xbox in 2022.40




35
         See PX7012, Investigational Hearing of Phil Spencer, Volume II, Oct. 12, 2022 at 406:23–24; 412:7–13;
PX7040, Stuart Depo. Tr. at 340:6–9, 288:10–289:11, 338:4–7; PX4323 at -003 (Microsoft email correspondence,
Mar. 2021); PX0027 at -003 (Microsoft FTC Second Request response appendix, Sept. 2, 2022); PX0038 at -006
(Microsoft FTC Second Request response supplement, Sept. 2, 2022).
         Evidence indicates Starfield in particular is a highly anticipated game. See PX1080 at -001 (chat transcript,
Mar. 2021) (Aaron Greenberg stating that Starfield “will be our single biggest share shift opportunity” for Xbox
Series X|S); PX1527 at -002 (email correspondence, Sep. 2020).
36
         PX7042, Lawver Depo. Tr. at 348:19–349:3, 360:13–20 (“Q. Do you know whether Starfield and Redfall
were set to be on PlayStation before ZeniMax was acquired? … A. My understanding would be that it would be
expected to be on all platforms, yes.”); PX4430 at -005 (Project Redfall financial materials, Mar. 2022); PX4303 at -
005 (email correspondence, Sep. 2020). See also PX4435 at -001, -012 (email correspondence and attachments, Feb.
2022).
37
         PX7042, Lawver Depo. Tr. at 320:4–24, 327:10–328:5, 331:13–336:13; PX4309 at -001 (chat transcript,
Nov. 2021); PX4334 (chat transcript, Nov. 2021). See also PX1116 at -001 (email correspondence, Feb. 2021).
38
         PX0003 at -086–087 (Microsoft FTC Second Request response, Jul. 1, 2022). See also PX1425 at -005
(email correspondence and attachment, Dec. 2020).
39
         PX1949 at -002 (email correspondence, Aug. 19, 2019); PX1951 at -007 (email correspondence, Aug. 22,
2019). See also PX1950 at -001 (email correspondence, Aug. 2019).
40
         PX7031, Greenberg Depo. Tr. at 56:2–24.

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         43.       In contrast to first-party publishers, independent third-party publishers typically

have strong economic incentives to support multiple consoles. Doing so provides access to a

larger potential customer base and greater potential game sales. Figure 2 visualizes the different

incentives faced by first- and third-party studios with respect to exclusivity by comparing the

fraction of exclusive and non-exclusive unit sales revenue, by publisher, accounted for by games

released on PlayStation 5 or Xbox Series X|S consoles during November 2020–February 2023.

Figure 2: Share of US unit sales revenue from cross-platform and exclusive games for
Generation 9 consoles released Nov. 2020–Feb. 2023, by publisher




Source: PX5000 at -161 (Expert Report, Figure 38).
Notes: [1] Limited to US sales of games for Generation 9 consoles released November 2020–February 2023. Games with any
positive revenue on a console from November 2020–February 2023 are considered “available” on that console.
[2] Revenue from games published by ZeniMax/Bethesda Softworks is included in Xbox Game Studios revenue and outlined in red.
One Bethesda title (Ghostwire: Tokyo) had not been released on Xbox Series X|S as of Feb. 2023. All other ZeniMax/Bethesda
titles were released on both PlayStation 5 and Xbox Series X|S before Feb. 2023 and are categorized as supporting both, even
though Microsoft Megapivot data report no revenue for these titles on Xbox Series X|S.
[3] Microsoft Megapivot data contain no sales of Minecraft for Generation 9 consoles. Minecraft Legends was released by Xbox
Game Studios on Xbox Series X|S and PlayStation 5 consoles on April 18, 2023.


         44.       For each of the “Big 4” independent publishers, well over                     % of revenue was

earned from multi-platform titles. Conversely, about                   % of PlayStation Studios revenue was

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from games exclusive to PlayStation consoles, while just over           of Xbox Games Studios

revenue was from games exclusive to Xbox consoles.41 This greater propensity for first-party

titles to be exclusive is consistent with console manufacturers benefiting sufficiently from

exclusivity and increased console sales to be willing to forgo selling first-party titles to a larger

set of users on rival consoles.

II.C.5. Without procompetitive benefits, exclusivity that reduces the availability of content
on video game consoles and gaming services likely harms competition and consumers

       45.     The effect of exclusivity on competition and consumers is case-specific. As a

matter of economics, when a firm improves its own product’s quality without diminishing the

qualities of rivals’ products, consumers tend to benefit. But when products of rivals are worsened

without any quality improvements elsewhere sufficient to offset that diminished quality,

consumers and competition, in general, are harmed.

       46.     A console manufacturer can improve the quality of its product relative to rivals by

releasing a new exclusive first-party video game. Though exclusivity for this first-party game

prevents consumers from playing the game on rival gaming products, consumers in this case

would tend to benefit compared to a world where the game would not have existed at all.

       47.     However, in the present context, a video game console manufacturer and gaming

service provider (Microsoft) is seeking to acquire an existing third-party video game publisher

(Activision) and its suite of current and future video game franchises and intellectual property.

Absent a meaningful improvement in the (price-adjusted) quality or quantity of Activision

content resulting directly from the Proposed Transaction, making Activision content exclusive to


41




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Xbox products would tend to reduce the availability of content on other consoles and gaming

services compared to a world without the merger. This in turn decreases the quality of products

available and thus likely harms competition. Consumers would likely be harmed due to higher

prices, reduced choice, and lower product quality (as they would be able to access Activision

content on fewer consoles and gaming services), and overall video game console and gaming

service sales would likely be lower.

III. Economic framework

         48.      I analyzed the competitive effects of the Proposed Transaction by first identifying

relevant antitrust markets. I then analyzed the likely impact of the Proposed Transaction on

competition and consumers in each relevant market.

III.A. Market definition

         49.      As is the case for the analysis of horizontal mergers, defining antitrust markets for

“vertical” mergers helps to focus attention on where potential competitive effects may occur.

Vertical mergers involve two firms that offer products in different, but related, markets. Here,

Microsoft sells video game consoles and gaming services; Activision produces video games.

         50.      Market definition aims to identify products that closely compete with the

combined firm (here, the combined Microsoft and Activision) by identifying a set of products

that customers could substitute to when one of the products offered by the combined firm or its

competitors is subjected to a price increase or quality decrease.42 Hence, antitrust markets

contain products that the combined firm would benefit from disadvantaging.



42
          Market definition is not “an end in itself” and is one of several useful tools for the overall analysis of
competitive effects. By explicitly labeling products as inside or outside of a market, market definition draws a
discrete boundary around products even when such a determination may depend on more nuanced measures of
firms’ competitive positions. In light of these considerations, I analyzed “broader” markets that wholly contain all
the products in other “narrower” markets that I also defined. In doing so, I evaluated whether competitive effects
still may occur when additional products are included or excluded from particular markets.

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        51.     Importantly, a relevant antitrust market need not include all potential substitutes

that consumers might consider—doing so would tend to overstate the competitive significance of

relatively distant substitutes. For example, pen and paper could be a substitute for some

consumer interested in a laptop, but it is unlikely that pen and paper would be a close substitute

for enough consumers to meaningfully constrain the pricing decisions of laptop manufacturers.

        52.     I used the Hypothetical Monopolist Test (“HMT”) framework to evaluate each of

the candidate relevant markets. Under the HMT, a candidate group of potentially differentiated

products constitute a relevant market if a hypothetical monopolist that owned all of these

products likely would impose at least a small but significant and non-transitory increase in price

(“SSNIP”), usually assumed to be 5%, on at least one product in the market. The logic behind the

HMT is to ensure that the relevant market is sufficiently broad so that a hypothetical

monopolist’s attempted exercise of market power (e.g., increase in price) would not be rendered

unprofitable by customers substituting to products outside of the market, but also not so broad as

to overstate the competitive significance of relatively distant substitutes (such as pen and paper

to a laptop).

        53.     One important factor that affects whether a hypothetical monopolist would find it

profitable to implement a SSNIP is the fraction of sales of products subjected to such a price

increase that would be lost to products outside of the candidate market. As the fraction of sales

that remains in the candidate market is greater, the likelihood that a hypothetical monopolist

would find a price increase profitable increases.

        54.     Throughout my analysis, I relied on both qualitative and quantitative evidence to

inform whether consumers would remain within the market when prices for products increase,

thereby indicating whether a hypothetical monopolist would likely find a SSNIP to be profitable.



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This evidence includes documents and testimony from Microsoft and Activision (“Merging

Parties”) and other industry participants that speak to the characteristics and features of products,

to which products compete most closely with one another, and to which products constrain the

pricing of products in each candidate market.

III.B. Analysis of effect on competition and consumers

         55.      Economic literature has long recognized the potential of vertical mergers to have

both pro- and anti-competitive effects. While vertical mergers could be beneficial in some

circumstances, they can also harm competition and consumers if the merging parties engage in

foreclosure. As a matter of economics, foreclosure in a vertical setting generally refers to

denying or otherwise degrading access to an input or complementary product to rivals.43

Foreclosure can result in higher prices, lower quality, and reduced innovation.

         56.      The economic reason that the Merged Entity would be more likely to engage in

foreclosure than an independent Activision—i.e., withhold Activision content from or degrade

Activision content to Microsoft rivals—is that Microsoft stands to earn significant profits from

sales captured from rivals in each relevant market when they are foreclosed.

         57.      In Figure 3, on the left-hand side of the figure is a “supply” scenario in which

Activision content is supplied to both Microsoft and a rival in one of the relevant markets prior

to the merger (depicted by the solid lines at the top of the figure). On the right-hand side is a

“foreclosure” scenario in which Activision content, following the merger, is either fully or

partially foreclosed from the rival following the merger (represented by the dotted line and red




43
          I focus on what is referred to in the economics literature as “upstream foreclosure,” whereby an input
supplier further away from consumers in a vertical supply chain (i.e., “upstream”) is denied or offered in a degraded
form to rivals of the integrated “downstream” unit. An example is when a manufacturer’s products is withheld from
rivals of its integrated retailer. There is also “downstream foreclosure,” whereby rivals of the upstream supplier are
foreclosed from access to the downstream unit.

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“X”). If, in the foreclosure scenario, more consumers purchase Microsoft’s products than from

disadvantaged rival (as depicted by the larger arrow linking consumers to Microsoft and the

smaller arrow linking consumers to the rival), then Microsoft and by extension the Merged

Entity stand to realize additional benefits from foreclosure.

Figure 3: Diagram of potential foreclosure of Activision content to a Microsoft rival




         58.   Unlike in an analysis of a horizontal merger, there is no established screen or

presumption of harm based on market shares or concentration for the purposes of evaluating the

competitive effects of a vertical merger. Moreover, the competitive harm arising from “vertical”

conduct such as foreclosure of an upstream input does not necessarily depend on the merged

firm’s share in an appropriately defined downstream market. Rather, the ability of the merged

firm to harm competition (and thus, consumers) through foreclosure depends on the importance

of the upstream input for attracting consumers and the availability of potential substitutes for the

input.

         59.   To analyze whether the Proposed Transaction would likely lead to competitive

and consumer harm in each relevant market, I adopted the following three-step approach:

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   •   Step 1: I investigated whether it is likely that the Merged Entity would engage in

       foreclosure in each relevant market. Specifically, I focused on whether the Merged Entity

       would likely withhold Activision content from, or otherwise degrade Activision content

       provided to, Microsoft’s rivals. This likelihood depends on the ability and economic

       incentive of the Merged Entity to engage in foreclosure in each of the relevant markets.

   •   Step 2: I evaluated whether such foreclosure would likely harm consumers and

       competition in each relevant market.

   •   Step 3: I examined whether there are pro-competitive benefits from the Proposed

       Transaction that are cognizable and realizable only as a consequence of the merger, and if

       so, whether they would be sufficient to eliminate or offset any competitive and consumer

       harms in each relevant market.

IV. Video game consoles

IV.A. Market definition

IV.A.1. High-Performance Video Game Consoles

       60.    High-Performance Video Game Consoles is a relevant product market for

analyzing the competitive effects of the Proposed Transaction.

       61.    The High-Performance Video Game Consoles market includes only Microsoft’s

Xbox Series X|S consoles and Sony’s PlayStation 5 consoles. The market excludes other video

game consoles, including the Nintendo Switch (released in 2017), as well as PCs, mobile

devices, virtual reality (“VR”) devices, and non-console cloud gaming.

       62.    Evidence supports the conclusion that Xbox Series X|S and PlayStation 5

consoles compete more closely with each other than with the Nintendo Switch.




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         63.     First, all three major console manufacturers have made statements consistent with

this conclusion:

     •   In Epic Games, Inc. v. Apple Inc., Lori Wright, Vice President of Business Development

         for Gaming, Media, and Entertainment at Microsoft, testified that “[t]he most direct

         competitor for [Xbox console] hardware sales would be the Sony PlayStation” and the

         Nintendo Switch competes with Xbox for hardware sales “but to a much lesser extent.”44

     •   In a declaration submitted in this matter, SIE CEO Jim Ryan indicated, “While

         PlayStation competes with non-console devices and the Nintendo Switch, at present,

         PlayStation’s closest competitor in gaming is Microsoft’s Xbox.”45

     •   According to Tom Prata, Executive Vice President of Product Development and

         Publishing for Nintendo of America, “offerings developed by Nintendo that take

         advantage of [its] integrated [hardware and software] approach are commonly

         distinguished by video game users and the industry from offerings on Microsoft’s Xbox

         consoles and Sony’s PlayStation consoles.”46

         64.     Second, there is substantial evidence that Microsoft and Sony benchmark the

pricing, costs, and performance of their consoles against one another, and that each firm

conditions pricing decisions for their Generation 9 consoles on the pricing decisions of the

other.47 This evidence that Microsoft and Sony benchmark the pricing of their Generation 9

consoles to one another strongly supports the conclusion that substitution to products outside of

the High-Performance Video Game Consoles market is not so high that a SSNIP would not be

44
         PX6000 (Testimony of Lori Wright, Epic Games Inc. v. Apple Inc., 559 F.Supp.3d (N.D. Cal. May 5,
2021), 537:16–19).
45
         PX8001 at -004–005 (Declaration of Jim Ryan, Dec. 5, 2022).
46
         PX8002 at -001 (Declaration of Tom Prata, Dec. 7, 2022).
47
         PX1635 at -001–002 (email correspondence, Jul. 2020); PX1752 at -001 (email correspondence, Aug.
2022); PX3081 at Slide 27 (Sony internal presentation, Aug. 2020); PX3077 at -032 (PlayStation internal
presentation, Sep. 2021); PX3081 at -007, -040 (Sony internal presentation, Aug. 2020).

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profitable for a hypothetical monopolist of high-performance video game consoles. The reason is

that if substitution to products outside of the High-Performance Video Game Consoles market

were substantial, then price changes on PlayStation 5 consoles would not significantly relax the

pricing constraints on Xbox Series consoles, and vice versa.

        65.      Third,

                                                                                                             .48

        66.      Fourth, evidence indicates that Xbox Series X|S and PlayStation 5 consoles are

differentiated from the Nintendo Switch with respect to performance, form factor, technical

specifications, pricing, and game availability.

        67.      The Xbox Series X|S and PlayStation 5 consoles have similar technical

specifications,49 and Microsoft and Sony regard them as the most powerful video game consoles

available today.50 Xbox executive Liz Hamren has indicated that “broad consumer audiences will

likely perceive the Xbox Series X and PS5 as roughly comparable.”51 Nintendo, on the other

hand, according to the testimony of Activision CFO Armin Zerza, has “very different capabilities

than Microsoft and Sony has. . . Nintendo is not at the forefront of technology.”52

        68.      While the Xbox Series X|S and PlayStation 5 consoles are home consoles

typically played on television screens, the Nintendo Switch is a “hybrid console” that can as also

be used as a handheld console. Microsoft’s Vice President of Xbox Game Marketing, Aaron

48
         PX1747 at -009, -020 (email correspondence and attachment, Aug. 2022); PX1887 at -001 (email
correspondence, Nov. 2022); PX7028, Deposition of Phil Spencer, Mar. 8, 2023 [hereinafter “Spencer Depo. Tr.”] at
144:16–145:13; PX1240 at -019 (Xbox internal presentation, May 2021); PX5000 at -088 (Expert Report, ¶ 208).
49
         PX5000 at -080 (Expert Report, Figure 13).
50
         PX5000 at -075 (Expert Report, ¶ 189). Many video game media outlets have also compared the head-to-
head performance of the Xbox Series X and PlayStation 5 consoles. PX5000 at -075 (Expert Report, n. 392). See
also PX1635 at -002 (email correspondence, Jul. 2020).
51
         PX1275 at -001–002 (email correspondence, Mar. 2020); PX1635 at -002 (email correspondence, Jul.
2020)


52
        PX7004, Investigational Hearing of Armin Zerza, Sep. 8, 2022 at 74:2-14.

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Greenberg, acknowledged the difference in an internal email, writing “I would also suggest in

general we try to avoid calling Switch a console, as it is really a portable gaming device.”53

        69.     Xbox Series X|S and PlayStation 5 consoles have video game content portfolios

that are more similar with each other than with the Nintendo Switch. The majority of sales for

Xbox Series X|S and PlayStation 5 are of titles that are available on both Xbox and PlayStation

consoles but not on the Nintendo Switch. By comparison, over 70% of game sales for the

Nintendo Switch are from titles that are exclusive to the Switch.

        70.     Other video game consoles would likely not constrain a hypothetical monopolist

of high-performance video game consoles from profitably imposing a SSNIP.54

        71.     PCs, both laptop and desktop computers and those configured to play

computationally demanding games (“Gaming PCs”), are significantly differentiated from video

game consoles such that PCs are unlikely to constrain a hypothetical monopolist of high-

performance video game consoles from profitably engaging in a SSNIP. PCs are multipurpose

devices whereas video game consoles are primarily designed to play games. Also, a 2022 Xbox

Cloud Gaming document states that “PC and mobile gamers make up a large majority of gamers

worldwide and their desires and play styles do not naturally align to the console,”55 while a Sony

internal presentation states

                                         .56 Gaming PCs are also typically much more expensive

than video game consoles. The same 2022 Xbox Cloud Gaming document noted, “Historically,




53
        PX1950 at -001 (email correspondence, Aug. 2019).
54
        PX5000 at -090 (Expert Report, ¶ 215).
55
        PX4182 at -004 (Xbox Cloud Gaming document, Sep. 2022).
56
                                                                  See also PX1476 at -001 (email
correspondence, Aug. 2021).

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the $500 Xbox [console] has been designed to compete with a ~$1500 PC on gameplay

performance.”57

         72.      In addition, industry use of the term “exclusivity” pertaining only to console

exclusivity, such that games are considered exclusive if the are available for PC in addition to

consoles, is also consistent with video game consoles and PCs being signficantly differentiated.58

Both Sony and Microsoft have released “exclusive” titles to their respective consoles and PCs.59

         73.      Mobile devices (including mobile phones and computer tablets), VR gaming

devices, and cloud gaming services accessed on non-console devices are significantly

differentiated from video game consoles and would likely not constrain a hypothetical

monopolist of all high-performance video game consoles from profitably implementing a

SSNIP.60

         74.      As a complementary tool in performing the HMT, I also conducted what

economists refer to as critical loss analysis. Based on this analysis, under assumptions I detail in

my Expert Report, I calculated that a 5% SSNIP would be profitable for a hypothetical

monopolist as long as at least 6.2% of consumers who stop purchasing an Xbox Series console




57
         PX4182 at -004 (Xbox Cloud Gaming document, Sep. 2022). See also PX1145 (email correspondence,
Dec. 2020) (High performance consoles, including Xbox Series X|S, are sold below cost); PX1324 at -001 (email
correspondence, Feb. 2019).
58
         PX7014, Investigational Hearing of Matthew Booty, Oct. 5, 2022 [hereinafter “Booty IH Tr.”] at 94:2–
95:18. (“Q. [Y]ou would say that … Halo Infinite is exclusive even though it’s on other platforms we just
mentioned? A. Well, this gets to what my point was is that exclusivity has to be tied to something. So, it is exclusive
to our console. But, for example, on PC it is available through Steam, which is run by Valve. So, you know, we need
to make a distinction there. Q.... So, when you say exclusive on your console, you mean that it’s available on Xbox
consoles, but not competitor consoles; is that right? A. Correct.”). See also PX7025, Deposition of Brad Smith, Mar.
2, 2023 at 21:18–22:3 (“Q. Okay. And when you said in that sentence, Xbox at the end, exclusive to Xbox. What
does Xbox mean there? A. … I would say that Xbox in this context most properly refers to the Xbox console and
any Xbox service such as our service on PCs and elsewhere.”).
59
         PX5000 at -095–096 (Expert Report, ¶¶ 228–229, Figure 19).
60
         PX5000 at -097–100 (Expert Report, §§ IV.B.1.f–h).

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following a SSNIP on Xbox consoles would purchase a PlayStation 5 console, and vice versa.61

The evidence presented above indicates that substitution between the Xbox Series X|S and

PlayStation 5 consoles likely exceeds this threshold.

         75.      Together, the qualitative and quantitative evidence indicates that Microsoft and

Sony impose the most significant competitive constraints on one another among video game

console manufacturers, and that a hypothetical monopolist of high-performance video game

consoles likely would implement a SSNIP. For this reason, I concluded that the High-

Performance Video Game Consoles market satisfies the HMT and is a relevant product market.

IV.A.2. Video Games Consoles

         76.      Video Game Consoles is a relevant product market, albeit broader than is

necessary to satisfy the HMT, for analyzing the competitive effects of the Proposed Transaction.

The Video Game Consoles market consists of consumer devices that are designed and whose

primary use is to play video games. The market includes the Xbox Series X|S, PlayStation 5, and

Nintendo Switch consoles, as well as other home video game consoles and handheld consoles.62

         77.      Because the Video Game Consoles market wholly contains all products in the

High-Performance Video Game Consoles market, any competitive effects of the Proposed

Transaction that would occur in the High-Performance Video Game Consoles market would also

occur in the broader Video Game Consoles market. So even if the narrower High-Performance


61
          Under additional assumptions, a SSNIP of at least 5% would be profit maximizing for a hypothetical
monopolist as long as at least 11.6% of consumers who stop purchasing an Xbox Series console following a SSNIP
on Xbox consoles would purchase a PlayStation 5 console, and vice versa. The difference between the thresholds
arises due to differences in the size of the price increase that a hypothetical monopolist would find profitable to do,
as opposed to optimally do. I also compute these percentages for a SSNIP to be profitable (7.7%) or profit
maximizing (14.3%) using 20% lower price-cost margins than those I estimate from Microsoft data.
62
          Consoles that do not currently have Activision content and are unlikely to have Activision content
regardless of whether the merger occurs are less salient for the purposes of analyzing potential competitive harm
arising from the foreclosure of Activision content. This is because their software libraries are unlikely to be directly
affected by the merger, and such consoles will be less effective substitutes for consumers switching away from a
product that has Activision content withdrawn from or degraded on it than a product which does have Activision
content. That said, in the interest of completeness, I include such devices in my discussion here.

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Video Game Consoles market were not defined as a relevant product market, my main

conclusions regarding likely competitive harms in the broader Video Game Consoles market

(which includes consoles from Microsoft, Sony, and Nintendo) would not be affected.

        78.      In the previous section, I presented evidence that the High-Performance Video

Game Consoles market satisfies the HMT and is a relevant product market. Because all products

in the High-Performance Video Game Consoles market are wholly contained within the Video

Game Consoles market, this same evidence implies that the Video Game Consoles satisfies the

HMT as well.63 For additional evidence that market participants consider video game consoles as

a product segment distinct from non-console gaming options, see my Expert Report, § IV.B.2.64

        79.      The combined qualitative and quantitative evidence supports the conclusions that

a hypothetical monopolist of video game consoles would likely implement a SSNIP, and that the

Video Game Consoles market satisfies the HMT and is a relevant product market.

IV.A.3. Geographic market

        80.      The United States is a relevant geographic market for both the High-Performance

Video Game Consoles market and the Video Game Consoles market.

        81.      According to the 2010 Department of Justice and FTC Horizontal Merger

Guidelines, “[t]he arena of competition affected by the merger may be geographically bounded if

geography limits some customers’ willingness or ability to substitute to some products, or some

suppliers’ willingness or ability to serve some customers.”65




63
        The hypothetical monopolist of the Video Game Consoles market would own strictly more products than
the hypothetical monopolist of the High-Performance Video Game Consoles market, and hence would also likely
impose a SSNIP on at least one product in this broader market (e.g., Xbox Series consoles).
64
        PX5000 at -102–104 (Expert Report, § IV.B.2).
65
        Department of Justice and Federal Trade Commission, Horizontal Merger Guidelines, Aug. 19, 2010 § 4.2.

                                                      29
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         82.      Evidence indicates that customers do not view purchasing video game consoles in

another country as a reasonable substitute for purchasing video game consoles in the United

States, and console manufacturers treat the United States as a distinct geographic market.

         83.      First, video game console manufacturers make pricing and release decisions that

can vary on a country-by-country basis, which supports the conclusion that video game console

manufacturers are able to price discriminate among consumers by geography. For example,

Sony announced in August 2022 an increase in prices for PlayStation 5 consoles in select

countries, including Canada, but not in the United States.66 In response to an email thread

discussing Sony’s price increase announcement, Microsoft CEO Satya Nadella wrote, “



                                         .”67 In January 2023, Microsoft announced price increases for

the Xbox Series S in India and Xbox Series X|S consoles in Japan.68

         84.      Second, evidence indicates that market participants analyze competition on a

country-by-country basis.69 For example, in a 2021 email asking about the “the share difference

between PlayStation and [Microsoft] in this generation right now in the US,” Satya Nadella,

CEO of Microsoft, refers to the

                             ”70 And, Microsoft Gaming CEO Phil Spencer, in describing a 2022


66
         PX5000 at -104 (Expert Report, ¶ 259).
67
         PX1752 at -001 (email correspondence, Aug. 2022).
68
         PX5000 at -104 (Expert Report, ¶ 259).
69
         See PX7026, Deposition of David Hampton, Mar. 2, 2023 at 177:11–178:3, 178:23–179:11 (“There are
games that just are built in those geographies, grown in those geographies that never make it to the west, and they
just don’t have … the same interest in things, like, you know, Halo that American players do.”). See also PX7053,
Ryan Depo. Tr. (Vol. I) at 15:6–16:2; PX1571 at -029 (email correspondence and attachment, Apr. 2021); PX1563
at -045–048 (email correspondence and attachment, May 2022).
70

                                    PX9015 at -005 (Q3 2022 Microsoft Corp Earnings Call, Apr. 2022) (Mr.
Nadella tells investors that Xbox is the “market leader this quarter” among Gen 9 consoles in the United States,
Canada, U.K., and Western Europe);



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meeting with the Microsoft Board of Directors, wrote, “I next hit our share position relative to

Sony. … I explained our biggest share miss was in the US[.] … Given US is roughly                           of our

business missing share in US impacts [worldwide fiscal year] share dramatically.”71

        85.      Third, evidence indicates that console video games—which are complementary

products to consoles—are sold on a regional and country-by-country basis as well.72

        86.      The combined evidence supports the conclusion that the United States is a

relevant geographic market for the Consoles Markets.

IV.B. Ability and incentive to foreclose in the Consoles Markets

        87.      Having defined the High-Performance Video Game Consoles and Video Game

Consoles markets, I evaluate whether the Merged Entity would have the ability and economic

incentive to foreclose Microsoft’s rivals from Activision content in the two Consoles Markets.

IV.B.1. Ability

        88.      The Merged Entity would have the ability to foreclose Microsoft’s rivals in each

of the Consoles Markets from Activision content. As discussed above, withholding Activision

content from, or partially foreclosing or degrading Activision content to, Microsoft’s rivals

would meaningfully affect their competitiveness and consumer demand for their products.

        89.      The Merged Entity would also have access to various viable foreclosure

strategies,73 including withholding the content entirely and different forms of partial exclusivity.




71
         PX1887 at -001 (email correspondence, Nov. 2022).
72
         See, e.g., PX4647 at -001 (email correspondence, Mar. 2021) (“There is a lot of work going on towards
having the right regional pricing, and we were intentionally aggressive in some regions. ‘We’ made the choice not to
create price disparity in our core Euro markets.”); PX1563 at -002 (email correspondence and attachment, May
2022) (listing North America among five different geographic regions).
73

                                                                                PX1015 at -027 (email
correspondence and attachment, Mar. 2020). See also PX4505 at -002 (email correspondence, Jul. 2019) (Microsoft
email discussing exclusive content and bundles, noting that having a game with exclusive “extras” “enhances it,
likely securing the deal” when influencing consumers’ console choice.).

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Examples of partial exclusivity or partial foreclosure strategies that would be available to the

Merged Entity include:

     •   Timed exclusivity, where the Merged Entity delays release of first-party content on rival

         products;

     •   Content exclusivity, where the Merged Entity makes downloadable content, early “beta”

         (test) versions of games, or other add-on content exclusive to Xbox products; and

     •   Degraded or non-optimized content, where the Merged Entity degrades game

         performance, gameplay, or features of first-party games on rival products (potentially

         through reduced investment in console-specific improvements).74

IV.B.2. Incentive

         90.      First, the Merged Entity would have a greater economic incentive to engage in

foreclosure of Microsoft’s rivals than an independent Activision in the Consoles Markets.

         91.      The primary costs to Activision of foreclosing its content from Sony PlayStation

are lost or reduced sales of its games on PlayStation consoles. Some of these lost sales can be

offset if consumers substitute and purchase Activision content on other devices. However, in

contrast to an independent Activision, the Merged Entity would also account for Microsoft’s

profits earned on additional console and gaming service sales when PlayStation is foreclosed.

Since the Merged Entity internalizes Activision and Microsoft’s combined incentives, it would

have a greater economic incentive to engage in foreclosure than an independent Activision.




74
         See, e.g., PX2049 at -004, 006 (Activision Blizzard internal presentation)




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Figure 4: Costs and benefits of console exclusivity considered by Microsoft




Source: PX4670 at -004 (Microsoft internal presentation, Nov. 2019).


          92.       There is evidence that Microsoft acknowledges such benefits from taking content

exclusive.




                                                                                                              75



          93.       Microsoft also may realize additional benefits, some of which may occur over a

longer time frame, from content foreclosure of rival consoles. For example:

     •    Microsoft executives and documents acknowledge that consumers’ beliefs and

          expectations are affected by the type and amount of exclusive content on Xbox,76 such




75
         PX1828 at -005 (email correspondence and attachment, Nov. 2019).
76
         According to Microsoft Corporate Vice President of Game Creator Experience and Ecosystems Sarah
Bond, “There are a set of players that value the idea that they can play [a] game only on Xbox. … [T]hey want
validation of their choice of buying Xbox and they consider the idea that they can only play the game at Xbox to be
a source of validation.” PX7003, Bond IH Tr. at 54:1–55:18; According to Matt Booty, “the owners of game
consoles put importance on exclusive content.” PX7014, Booty IH Tr. at 186:6–187:8.

                                                               33
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         that more and higher quality exclusive content likely would lead to greater sales of

         consoles and complementary products for Microsoft.77

     •   If fewer users purchase Activision content on PlayStation, Sony would lose its share of

         the revenue on those sales and post-sales monetization. This would make console sales

         less profitable to Sony, potentially leading to lower subsidies and higher prices for its

         consoles, driving even more sales to Microsoft.

     •   Worsening the quality of rival consoles tends to weaken the competition faced by

         Microsoft, which enhances Microsoft’s market power and ability to increase prices.

         94.      In addition to concluding that the Merged Entity will have a greater economic

incentive to foreclose Microsoft’s rivals in the Consoles Markets, I relied on qualitative and

quantitative evidence to conclude that Microsoft would likely have the economic incentive to

engage in foreclosure of Activision content in the Consoles Markets.

         95.      There is significant evidence, including evidence discussed above, that Microsoft

considers the benefits of foreclosing rivals from content when deciding whether to make content

exclusive for its consoles. Such benefits, which accrue to Microsoft’s overall gaming business

and may take time to realize, appear in some cases to be large enough that Microsoft is willing to

sacrifice significant profits and revenues on the sales of video game content.78




77
          For example,                                                                 show that % (
users) of US gamers who played Call of Duty on PlayStation 4 during or after November 2020 have not played any
title on a PlayStation 5 (the corresponding figure globally is % or                    ). These are consumers with
an observed preference for Call of Duty and who may be considering a new Generation 9 console (since they have
played only on a PlayStation 4, not a PlayStation 5). The console purchasing decision of these Call of Duty gamers
would likely be based in part on their expectations regarding future availability—or foreclosure—of Activision titles
including Call of Duty on PlayStation consoles.
78
          See also PX4484 at -020–021 (email correspondence and attachment, Feb. 2022)

                                                         ; PX1471 at -024–025 (email correspondence and
attachments, Jun. 2021).

                                                         34
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         96.      First, Microsoft executives have acknowledged that Microsoft is willing to lose

money on first-party exclusive titles and treat them as a “loss leader” to increase sales of Xbox

consoles and Game Pass.79

         97.      Second, Microsoft’s discussion and actions surrounding proposed and

consummated acquisitions of video game studios, described above and in my Expert Report, are

consistent with Microsoft’s willingness to forgo profits on content sales to obtain benefits arising

from content exclusivity, and the benefits of exclusivity outweighing the foregone sales on other

gaming platforms.80

         98.      In general, the economic costs and benefits that Microsoft faces from taking

content exclusive are case-specific and depend on, among other things, the sales that would be

lost on foreclosed consoles and how many additional Xbox consoles would be sold in the event

of foreclosure. For example, the economic incentives to engage in foreclosure for Minecraft—a

game that is available on Xbox, PlayStation, and Nintendo consoles; Windows, Chromebook,

Mac, and Linux PCs; and iOS and Android mobile devices—are likely very different than for

Activision content such as Call of Duty, which is only available on Xbox and PlayStation

consoles and Windows PCs. If Microsoft completely foreclosed PlayStation from Call of Duty,

PlayStation users would only have two alternative options—Xbox consoles and Windows PCs—

to choose from to continue playing. However, if Microsoft completely foreclosed PlayStation



79
        A 2020 email chain involving Microsoft Gaming CEO Phil Spencer and members of the Gaming
Leadership Team, a member of Microsoft’s Office of the Chief Economist responded to an email from Mr. Spencer,
noting,

                                                            PX4007 at -006 (email correspondence, Jul. 2020). In a
later email on the same chain, Mr. Spencer wrote that this was also the case for consoles: “I’m fine investing 1P in
XGP, we do that on console already by making the games for a subset of available hardware (basically
skipping [PlayStation] and Switch) so investing in XGP with 1P feels similar” (emphasis added). PX4007 at -005
(email correspondence, Jul. 2020).
80
         See PX5000 at -193–205 (Expert Report, § VII.C.1).

                                                         35
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from Minecraft, PlayStation users would have many more devices to choose from to continue

playing the game (and would also more likely already own such a device). Hence, foreclosure of

Minecraft from PlayStation would likely lead to a lower fraction of users affected by the

foreclosure purchasing a new Xbox console than would foreclosure of Call of Duty, which would

tend to reduce the benefits from engaging in foreclosure.

        99.      Recall that ZeniMax titles such as Starfield and Redfall were originally planned to

be released on Xbox, PlayStation, and PCs; these titles were taken exclusive to Xbox and PCs

following Microsoft’s acquisition of ZeniMax.

IV.B.2.a. Vertical Foreclosure model

        100.     To examine the Merged Entity’s economic incentives to withhold Activision

content from Sony’s PlayStation consoles, I developed a quantitative economic model

(henceforth, “Vertical Foreclosure model”) that compares the costs and benefits that would

accrue to the Merged Entity were it to engage in such foreclosure.

        101.     The model is conceptually similar to the one used by Microsoft to analyze the

costs and benefits of ZeniMax title exclusivity.81 The Vertical Foreclosure model focuses on

changes in the profits of Microsoft and Activision when titles are withheld from PlayStation

consoles. It uses projected sales of content on PlayStation to predict the number of affected users

who, in the absence of foreclosure, would have played the foreclosed content on PlayStation, and

models these players’ subsequent choices. For a single title, the profits earned by Activision from

these players on PlayStation represent costs to the Merged Entity from withholding the title from

PlayStation and forgoing sales on PlayStation. The analysis predicts the fraction of those players


81
        PX4484 (email correspondence and attachment, Feb. 2022). The results of this analysis were presented to
members of the Microsoft Gaming Leadership Team. PX1966 at -001 (chat transcript, Feb. 2021). “Project
Neutrino” considered five scenarios,
                                             PX4484 at -011 (email correspondence and attachment, Feb. 2022).

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that would instead choose to play the Activision title on Xbox consoles or PCs when it is

withheld from PlayStation. The profits earned by Microsoft and Activision from these players

who would have played the title on PlayStation but would play instead on Xbox consoles or PCs

in the event of foreclosure represent recouped benefits to the Merged Entity.

       102.    Quantitative models meant to simulate future outcomes will not—by their very

nature—capture every nuance, uncertainty, and complexity of reality. Despite their limitations,

quantitative models can provide useful information relevant to evaluating the Merged Entity’s

incentives to engage in foreclosure, and hence the likelihood of foreclosure. When possible, I

relied on quantitative values of inputs into the model that are supported by my own analyses of

the data available in the record of this case. I also, where appropriate, referred to values and

sources used by Microsoft when conducting its economic modeling in the ordinary course of

business, adjusting if necessary to account for more recent information or the specifics of this

transaction. Where there are greater uncertainties, I aimed to be conservative in my approach

(i.e., erring on the side of finding foreclosure to not be profitable) and considered findings across

a range of inputs to inform my economic opinions.

       103.    The results of the Vertical Foreclosure model depend on two key quantitative

inputs: the customer lifetime value (“LTV”) of purchasers of Xbox consoles and the “Xbox

conversation rate.” The Xbox conversion rate refers to the fraction of “potential Xbox

purchasers”—defined as affected users who (i) do not already own an Xbox console and (ii)

would not choose to play the foreclosed Activision content on PC—that would purchase an Xbox

console to play the foreclosed Activision content. In both cases, I used conservative values for

these inputs in the baseline specification of my model and considered predictions of the model

under a range of values for these inputs.



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         104.     As to the first input, LTV is the effective lifetime profit earned by the console

manufacturer from a customer who purchases a console. The LTV for a new Xbox Series user

(known as New-to-Xbox, or “NTX”) consists of profits from game, accessory, and gaming

service sales and accounts for selling consoles below cost. The baseline version of Vertical

Foreclosure model assumes that the LTV for someone who purchases an Xbox console to access

foreclosed Activision content is             higher than the average Xbox user, based on comparing the

average monthly spending for Call of Duty users versus all Xbox users. Xbox and PlayStation

telemetry data shows that users who play Call of Duty on Xbox spend                               , on average,

than the average Xbox user and users who play Call of Duty on PlayStation spend                                  , on

average, than the average Xbox user. In addition, the users who are in the top quartile of Call of

Duty average monthly hours on either console spend                       more, on average, than the average

Xbox user. As a matter of economics, users who spend more time playing a game, all else equal,

likely derive more value from that game, and hence would be more likely to purchase a new

Xbox to continue playing that game. Hence, the                   adjustment is likely to be conservative.

         105.     Another reason the adjustment is likely to be conservative is that while the

Vertical Foreclosure model only accounts for the first five years of profits earned by Microsoft

from an Xbox console sales (“5-year LTV”), the most recent LTV data produced by Microsoft

indicate that Microsoft earns significant profits from console sales after five years:



                                                          .82




82
        Further, my own independent analysis of Microsoft telemetry data showed significant spending on content
by purchasers of Xbox One (Microsoft’s Generation 8 console) after the first five years, which is consistent with
Microsoft earning significant profits on NTX users after five years. Microsoft telemetry data show that, across all
users whose first gameplay on Xbox One was during January 2014–October 2014, approximately              of their total
spending on Xbox One games over the first eight years occurred after the first five years.

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         106.    With respect to the Xbox conversion rate, in the baseline version of the Vertical

Foreclosure model, 20% of potential Xbox purchasers would purchase an Xbox console to access

foreclosed Call of Duty content, and 15% of potential Xbox purchasers would purchase an Xbox

console to access foreclosed non-Call of Duty content. Focusing on Call of Duty, the model

predicts that foreclosure of the FY2025 release of Call of Duty (“CoD25”) from PlayStation

results in an increase of Xbox sales equivalent to 5.5 percentage points of global Xbox Series

X|S and PlayStation 5 console sales in 2022. Accounting for the fact that Call of Duty is

consistently one of the best-selling games each year,83 the 5.5% number is consistent with

Microsoft documents that indicate, for example, that “an exclusive AAA release accounts for a

2–4% console share shift in the US and a 1–3% shift worldwide.”84 In addition, this number is

conservative with respect to the predicted 8.9 percentage point increase in Xbox console share

from making Call of Duty exclusive estimated using my Share model.

         107.    The model also omits several additional benefits that would tend to further offset

Activision’s losses and thereby increase the Merged Entity’s incentive to engage in foreclosure

even further. Additional benefits include:

     •   Additional consumers who would not have played Activision content might purchase an

         Xbox console if, as a result of foreclosure, their beliefs and expectations regarding the

         Xbox brand and the availability and quality of content on Xbox consoles improves, while

         their perceptions regarding PlayStation’s future content availability worsen.

     •   Affected users who would have multi-homed across PlayStation and Xbox consoles

         shifting some or all of their non-Activision PlayStation gaming to Xbox consoles, which




83
         PX5000 at -023 (Expert Report, ¶ 57).
84
         PX1136 at -004 (email correspondence and attachments, Nov. 1, 2019).

                                                      39
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       can occur if those users (i) prefer to consolidate their gaming on a single device or (ii) no

       longer purchase a PlayStation console and only play on Xbox.

   •   Enhanced Microsoft market power due to weakened competition from PlayStation,

       enabling Microsoft to profitably levy higher prices on consoles, subscription services,

       and other gaming products or reduce investments in product quality and innovation.

       108.    Considering only the costs and benefits contained within the model and for a

given set of inputs, the Merged Entity would have the incentive to withhold a video game title

from PlayStation if the percent of lost profits recouped exceeds 100%. Because of the additional

benefits from foreclosure that are not captured by the model, the Merged Entity could still find it

profitable to withhold a title even if the recoupment predicted by the model were less than 100%.

       109.    The baseline specification of the model (using likely conservative inputs) predicts

that, by withholding CoD25, the Merged Entity would                       in profits from forgone

sales on PlayStation consoles, but would                       in profits from game sales and

post-sales monetization on Xbox consoles and PCs as well as from additional sales of Xbox

consoles and Game Pass subscriptions. This represents a                                             .

       110.    I also considered the Merged Entity’s incentive to withhold a non-Call of Duty

title, as Activision has multiple successful franchises. For this analysis, I analyzed the Merged

Entity’s incentive to withhold Diablo IV, as it is the only other non-mobile non-free-to-play

game contained in the profit projections used for the model. The baseline specification of the

model (using likely conservative inputs) predicts that, by withholding Diablo IV, the Merged

Entity would                     in profits from forgone sales on PlayStation consoles, but would

                      in profits from game sales and post-sales monetization on Xbox consoles




                                                 40
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and PCs, as well as the profits earned on additional sales of Xbox consoles and Xbox Game Pass

subscriptions. This represents a                                     .

       111.    The results of the model across a wide range of specifications and inputs indicate

that the Merged Entity would likely have an economic incentive to withhold new Activision

content, both Call of Duty and non-Call of Duty titles, from Sony PlayStation consoles. This is

even under conservative inputs and without accounting for likely meaningful benefits outside of

the model.

       112.    The combined qualitative and quantitative evidence presented above supports the

conclusion that the Merged Entity would likely have the economic incentive to foreclose

Activision content in the Consoles Markets.

IV.C. Harm to competition and consumers from foreclosure

       113.    After finding that the Merged Entity would have the ability and likely economic

incentive to foreclose Microsoft’s rivals in the Consoles Markets, I evaluated the likely harm

arising from foreclosure in these markets compared to a world where the merger does not occur

(the “but-for world”).

       114.    Relative to the “but-for world” without the merger in which Activision remains

independent and Activision content remains available on multiple video game consoles, the

Proposed Transaction would likely lead to foreclosure of Activision content in the Consoles

Markets, generating competitive and consumer harm arising from less content or degraded

content on Sony PlayStation consoles, and leading to lower-quality or higher-priced products and

reduced consumer choice. Withholding or degrading Activision content would lead to a less

attractive game catalog on PlayStation consoles and eliminate options for devices that consumers

could use to play the foreclosed games. Furthermore, Sony’s effective increase in costs resulting



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from losing revenue on Activision content and weakened competition faced by Microsoft would

tend to lead to higher prices.

        115.     Microsoft has acknowledged the potential harm to consumers that can occur from

exclusivity (and benefits to consumers from making content more widely available).85 For

example, in a September 2019 email, Microsoft Gaming CEO Phil Spencer stated, with respect

to content exclusivity secured by Sony, “I’ve received a ton of negative feedback on Sony

signing exclusive content for [Call of Duty] and [Civilization VI] effectively paying so Xbox and

PC gamers don’t get what [PlayStation 4] customers get. … [I]t is another example where Xbox

gamers who pay attention feel like they are yet again being punished for making the wrong

console choice.”86 Microsoft choosing to foreclose its rivals in the Console Markets by

withholding or degrading Activision content would also effectively “punish” gamers on other

consoles and tend to harm competition in these markets.

IV.C.1. Quantitative estimate of harm

        116.     To provide a quantitative estimate of the harm that would arise as a result of a

reduction in the quality of Sony PlayStation consoles if Activision content were foreclosed, I

calibrated an economic model of consumer demand for video game consoles in the United States

to simulate how Xbox and PlayStation console unit sales and prices would adjust if PlayStation 5

consoles suffered a quality reduction arising from content foreclosure (henceforth, “Harm



85
          PX4476 at -008 (Microsoft Corporation’s Responses and Objections to Complaint Counsel’s First Set of
Interrogatories, Mar. 24, 2023) (“Since 2015, Sony has contracted with Activision for preferential treatment of Call
of Duty gamers who use its PlayStation consoles to play the game, a practice that Microsoft seeks to eliminate
following the acquisition of Activision. As a result of Sony’s practice, gamers who use other platforms (currently
Xbox and PC) are not able to access certain PlayStation-exclusive Call of Duty content. Post-Transaction,
Microsoft’s goal is that Xbox and PC gamers will be able to enjoy the benefits currently reserved for PlayStation
gamers.”); PX4476 at -008–009 (Microsoft Corporation’s Responses and Objections to Complaint Counsel’s First
Set of Interrogatories, Mar. 24, 2023) (“Expanding access to Call of Duty to Nintendo will give gamers more choice
and will increase the pool of cross-play gamers overall, enhancing the gaming Nintendo experience for all Call of
Duty gamers, regardless of the device they use to access the game.”).
86
          PX4629 at -001 (email correspondence, Sep. 2019).

                                                         42
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model”). The Harm model is conservative by not accounting for longer-term harms arising from

foreclosure, including any reduction in innovation.

Figure 5: Change in PlayStation 5 quality from making Activision content exclusive to
Xbox for different resulting changes in Xbox Series X|S market share




Source: PX5000 at -233 (Expert Report, Figure 52).


         117.      Figure 5 shows the quality reduction in PlayStation consoles (expressed in dollar

terms) that would yield a share change in Xbox Series X|S from 0 to 10 percentage points,

holding prices of these consoles fixed. Results from my Share model (para. 31, above) indicated

that Xbox One’s share relative to PlayStation 4 would increase by                 percentage points, on

average, if Call of Duty were removed from PlayStation 4. The Harm model estimates that an

     percentage point increase in Xbox Series share is equivalent to a reduction in PlayStation 5

console’s quality, expressed in dollar terms, of                   .87 This implies that predicted harm


87
         The exact depends on the value of “nesting parameter,” which refers to the extent to which Xbox Series and
PlayStation 5 consoles are substitutable. This parameter measures closeness of substitution between products, and


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from this quality reduction is substantial for consumers who continue to purchase a PlayStation

5. Consumers who substitute to purchasing an Xbox Series X|S console from the PlayStation 5 in

response to the foreclosure will also tend to be harmed, as they would be purchasing a console

that they had, absent foreclosure, preferred less.

         118.      I also simulated the Harm model allowing prices to adjust following foreclosure.

Among all of the scenarios I considered, Microsoft responds by increasing its price, while

PlayStation responds by decreasing its price, but not by enough to offset the decrease in

PlayStation 5 quality. Hence, every purchaser of Microsoft consoles is also harmed due to the

increase in its price arising from the weakening of competition. These results also do not account

for the increase in Sony’s effective marginal costs from losing revenues from foreclosed

Activision content, and hence likely understate price increases and harm to consumers.

         119.      The Harm model also demonstrates that even if foreclosure brought Sony and

Microsoft’s market shares closer together and reduced market concentration, competition

and consumers can still be harmed.88


may take values from 0 (distant substitutes) to 1 (perfect substitutes). In this case, when the nesting parameter is
closer to 0, Xbox Series X|S and PlayStation 5 consoles are relatively more distant substitutes for one another; when
the nesting parameter is close to 1, the two consoles are relatively closer substitutes for one another. Because the
actual nesting parameter between Xbox and PlayStation is uncertain from the data I was provided, I therefore
simulated the model for a range of nesting parameters and present results in Figure 5 for nesting parameters of 0.3,
0.6, and 0.9. This captures a wide range of potential customer substitution patterns. A nesting parameter of 0.3
implies that about 24% of customers departing Xbox in response to a price increase would substitute to a
PlayStation 5; a nesting parameter of 0.6 implies that about 49% of customers would substitute to a PlayStation 5;
and a nesting parameter of 0.9 implies that about 85% of customers would substitutes to a PlayStation 5.
           My Share model estimated that removing a top-selling non-Call of Duty Activision title from PlayStation 4
resulted in, on average, a       pp increase in Xbox One’s share in the first year after the title’s release. For a     pp
increase in Xbox Series X|S share, the implied decrease in PlayStation 5 quality is equivalent to a $               increase
in its price depending on the value of the nesting parameter.
88
           For intuition, consider a hypothetical market in which there are two firms selling differentiated products,
and market shares are 70% and 30%. Suppose the smaller firm can engage in an action that improves the quality of
its own product, or engage in an action that only harms the quality of its rival. Say both actions would result in
bringing market shares closer together—for instance, to 50-50—and reduce market concentration. Clearly, the
implications for consumer and competitive harm are different depending on which action the smaller firm chooses.
In particular, if the smaller firm’s increase in its market share is achieved by harming its rival without any increase
in its own quality, then the act would likely lead to fewer products sold and harm consumers and competition.


                                                            44
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IV.C.2. Entry

         120.     Evidence indicates that entry into Consoles Markets is unlikely to be timely,

likely, or sufficient to reverse the likely harm of the Proposed Transaction.

         121.     First, meaningful entry into the Consoles Markets is uncommon. The Merging

Parties have represented that “following the launch of the first Xbox console in 2001, Microsoft

has been one of the three main global console providers.”89

         122.     Second, entry is expensive. Microsoft has represented that “[g]aming consoles are

generally costly to develop. … [T]he cost to develop and produce a gaming console continues to

increase.”90

         123.     Third, to be successful, consoles must offer an attractive catalog of content. As

discussed earlier in my declaration, valuable content is scarce and there are limited and likely

insufficient alternative options for entrant console manufacturers to replace the impact and

attractiveness of Activision content in their gaming catalogs if they are foreclosed.

IV.D. Potential pro-competitive effects

         124.     Defendants’ economic experts asserted three categories of potential “merger-

specific efficiencies” arising from the Proposed Transaction that relate to Consoles Markets: (i)

Activision content on Xbox Game Pass, (ii) an “alignment of incentives” between Microsoft and

Activision, and (iii) increased distribution of Activision content through Microsoft’s 2023

contract with Nintendo.91 It is not evident that these claimed efficiencies are merger-specific, but,



Similarly, market shares could adjust from 70-30 to 50-50 if the larger firm increased its price or if the smaller firm
reduced its price. Even though resulting shares are the same in both instances, the impact on consumers will not be.
89
         PX0006 at -012 (European Commission Form CO, Case M. 10646, Acquisition by Microsoft of Activision
Blizzard, Sep. 30, 2022). Prior to the original Xbox console’s launch in 2001, there were also several high profile
exits by well-known video game companies such as Sega and Atari. See PX5000 at -236 (Expert Report, ¶ 663).
90
         PX0003 at -070 (Microsoft FTC Second Request response, Jul. 1, 2022).
91
         Expert Report of Dennis W. Carlton, PhD, May 25, 2023 [hereinafter “Carlton Report”], ¶ 12; Expert
Report of Elizabeth M. Bailey, PhD, May 26, 2023 [hereinafter “Bailey Report”], ¶¶ 129–132.

                                                          45
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even if they are merger-specific, the Merging Parties have not quantified these claimed

efficiencies or provided evidence that these efficiencies are likely to eliminate or offset the likely

harms arising from the Proposed Transaction in the Consoles Markets.

IV.D.1. Activision content becoming available on Xbox Game Pass

          125.    There are several reasons why Activision content would likely be available on

Xbox Game Pass in the but-for world absent the Proposed Transaction. Hence, it is not evident

that plans to bring Activision content to Xbox Game Pass are merger-specific.

          126.    Activision CEO Bobby Kotick testified that “the principal reasons [for not

offering Activision games on Game Pass] have been commercial,” and if Microsoft offered

Activision attractive commercial terms to offer their games on Game Pass, “it’s possible” that

Activision would offer their games on Game Pass.92




                              93
                                   Similarly, in a regulatory filing concerning the Proposed Transaction

to the European Commission, the Merging Parties stated, “




92
          PX7006, Investigational Hearing of Bobby Kotick, Sep. 20, 2022 [hereinafter “Kotick IH Tr.”] at 204:13–
205:10.
93
         PX7035, Deposition of Bobby Kotick, Mar. 17, 2023 [hereinafter “Kotick Depo. Tr.”] at 130:23–133:20.
See also PX7052, Zerza Depo. Tr. at 42:2–11 (testifying that Activision had not made a “final decision” about
putting content in xCloud). Activision’s CFO Armin Zerza affirmed that the presence of Activision games on Game
Pass depended on the commercial terms that Microsoft would give Activision; specifically, Bobby Kotick required
“material value” in exchange for Activision’s participation. PX7052, Zerza Depo. Tr. at 154:13–155:9; PX2396 at -
001 (email correspondence, Feb. 2022). As late as May 2022, Activision executives held the opinion that
participation in Game Pass could help market Activision franchises provided that Microsoft offer acceptable
commercial terms. See PX2406 at -001 (personal message correspondence, May 2022) (“It all depends on what
                         – I told then [sic] today that they need to step it up.”).

                                                        46
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                                                                                                      .”94

         127.   There is evidence that Activision and Microsoft have identified large financial

benefits from bringing Activision content to Xbox Game Pass. For example:

     •

                                                                      ”95

     •



                                                                                                     96



     •   In a January 16, 2022, presentation to Microsoft’s Board of Directors regarding the

         Proposed Transaction, Microsoft modeled that adding Activision content to Xbox Game

         Pass would generate $              in “Total Value” to the Merged Entity, including $

                in the first 10 years following the transaction.97

         128.   As a matter of economics, if potential gains from trade are truly large and

substantial, there likely exist profitable contractual terms absent a merger whereby those gains

would be realized and Activision content would be available on Xbox Game Pass.

         129.   Additionally, Microsoft has reached agreements with other third-party video game

publishers to bring their content to Xbox Game Pass, including successful titles from each of the

other “Big 4” publishers. For example:




94
         PX0006 at -117 (European Commission Form CO, Case M. 10646, Acquisition by Microsoft of Activision
Blizzard, Sep. 30, 2022).
95
         PX2199 at -003 (email correspondence and attachment, Dec. 2019).
96
         PX2115 at -009 (email correspondence and attachment, Mar. 2022)
                                                                    .
97
         PX1763 at -013 (Microsoft internal presentation, Jan. 2022). See also PX4341 at -025 (email
correspondence and attachment, Apr. 2022).

                                                    47
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      •   Several Ubisoft games have been available on Xbox Game Pass, including Assassin’s

          Creed Origins, Tom Clancy’s Rainbow Six Siege, and Far Cry 5.98

      •   Microsoft has contracted with Take-Two to bring Sid Meier’s Civilization VI and NBA 2K

          to Game Pass.99

      •   Microsoft agreed with EA to include access to EA Play, EA’s content library service, with

          the Xbox Game Pass Ultimate and Xbox Game Pass PC subscriptions.100

      •

                                                                                             .101

These examples demonstrate that providing Xbox Game Pass subscribers with access to

additional content “for no additional charge”102 can be achieved without integration. Microsoft

has represented that the attractiveness of Xbox Game Pass to third parties has increased over

time: “As Microsoft has acquired new content, it has been able to increase the attractiveness of

Game Pass and to help prove the concept to attract additional third-party developers.”103

          130.    Activision has also previously negotiated to support content library services with

its catalog content. For example, under the 2020 Call of Duty co-marketing agreement between

Activision and Sony, Activision authorized Sony to distribute Call of Duty: Black Ops 3:


98
         PX5000 at -227–228 (Expert Report, ¶ 633).
99
         PX4624 at -001 (email correspondence and attachment, Apr. 2022); PX1995 at -006 (email correspondence
and attached Game Pass License Agreement, Apr. 2022); PX5000 at -227–228 (Expert Report, ¶ 633).
100




101
          PX5000 at -227–228 (Expert Report, ¶ 633).
102
          Carlton Report, ¶ 142.
103
          PX0003 at -076 (Microsoft FTC Second Request response, Jul. 1, 2022).

                                                       48
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Zombies Chronicles Edition for PlayStation 4 to PlayStation Now subscribers for at least

        and to distribute Call of Duty: Black Ops 3: Zombies Chronicles Edition and Crash

Bandicoot Nsane Trilogy Bonus Edition for PlayStation 4 to PlayStation Plus subscribers who

own a PlayStation 5 for at least              .104

       131.    I acknowledge that there is uncertainty regarding Activision’s support of Xbox

Game Pass but for the Proposed Transaction, especially with respect to new titles being made

available day and date. Hence, I also evaluate Activision support of Xbox Game Pass as if it

were merger-specific. However, even if considered merger-specific, I have not seen evidence that

bringing Activision content to Xbox Game Pass would eliminate or offset the likely harms

arising in the Consoles Markets, and neither the Merging Parties nor their economic experts have

quantified these claimed efficiencies.

       132.    Evidence presented above indicates that the Merged Entity would likely have the

economic incentive to foreclose Sony PlayStation consoles from Activision content, but that

Activision content would still be available to Xbox console users even absent the transaction. As

a result, it is unlikely that the benefit from providing Activision content to Xbox users through

Xbox Game Pass—content that these users already are able to purchase on Xbox—is sufficient

to eliminate the harm from foreclosing users on PlayStation consoles from Activision content

altogether.

       133.    Moreover, the inclusion of Activision content on Xbox Game Pass is likely to

increase Microsoft’s incentive to increase the price of Game Pass, thereby reducing the potential

value of inclusion of Activision content on Game Pass.




104
       PX2189 at -015 (Letter agreement between Sony and Activision,    ).

                                                     49
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IV.D.2. Alignment of incentives

        134.     Defendants’ economic expert Prof. Carlton asserts without any cited evidence that

the acquisition will create “greater incentives to invest in developing new games or franchises or

improving existing games or franchises.”105 Prof. Carlton claims that “[t]he combined company

will have an increased incentive” to engage in such investment,106 but this is not correct in

general: the Merged Entity may actually have a reduced incentive to invest compared to an

independent Activision in games, features, or other content that also benefits rivals of Microsoft.

The reason is similar to why the Merged Entity would have a greater economic incentive to

foreclose Activision content than an independent Activision: by reducing investment in content

that benefits Microsoft’s rivals, the Merged Entity stands to gain from diverted sales to

Microsoft’s Xbox consoles and Game Pass subscriptions.

        135.     Prof. Carlton also claims that “[t]his alignment of incentives between Microsoft

and Activision has not been and likely cannot be achieved by contract,”107 but he does not

provide evidentiary support for the extent to which purported misalignments between integration

and contracting meaningfully reduce investment. Microsoft uses contracts with independent

studios to jointly develop games, and Defendants’ experts do not explain why, if inefficiencies

from such arrangements are severe, Microsoft uses such arrangements.108 Hence, the Merging

Parties have not established that the claimed “alignment of incentives” is merger-specific.


105
        Carlton Report, ¶¶ 144–145.
106
        Carlton Report, ¶¶ 144–145.
107
        Carlton Report, ¶ 145.
108
        Microsoft has co-development relationships with independent studios for games including Flight Simulator
and Age of Empires. PX4005 at -004 (email correspondence, Nov. 2022). Head of Xbox Game Studios Matt Booty
explained co-development deals as follows: “




                                                                                           ” PX7014, Booty IH
Tr. at 57:18–58:12.

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        136.     Additionally, neither the Defendants not their economic experts have provided

quantitative analysis of these claimed efficiencies.

IV.D.3. Nintendo agreement

        137.     In February 2023, Microsoft signed an agreement with Nintendo to “use best

efforts to develop and publish future native console versions of the Call of Duty Titles for

Nintendo Platforms.”109 It is not evident that this agreement would eliminate or offset harm in

the Consoles Markets arising from the likely foreclosure of PlayStation from Activision content

as a result of the Proposed Transaction for at least three reasons:

        138.     First, an independent Activision would have a greater economic incentive to

support Microsoft’s rivals than the Merged Entity. Hence, if bringing Call of Duty to Nintendo

consoles were in the Merged Entity’s economic interests, then it would likely be in an

independent Activision’s interests to do so, as well. In this case, any benefits arising from such

an agreement would not likely be merger-specific.

        139.     Second, since the Nintendo Switch is not contained in the High-Performance

Video Game Consoles market, the agreement does not address harm arising in this market.

        140.     Third, evidence indicates that the feasibility of bringing Call of Duty in a version

comparable to its Generation 9 console versions to Nintendo consoles is uncertain.110 For

example, a December 2022 email from Head of Xbox Game Studios Matt Booty to Microsoft

Gaming CEO Phil Spencer and Microsoft Gaming CFO Tim Stuart and others, discussing the



109
         PX1779 at -001 (Call of Duty Side Letter to Nintendo Switch Content License and Distribution Agreement,
Feb. 10, 2023).
110




                                                      51
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possibility of Xbox Game Studios games on Nintendo Switch, noted that “getting many of our

games running on Switch will be more than a ‘port’ and may not be feasible given the hardware

perf delta w/o compromising the look/experience and it being essentially a different game.”111

IV.D.4. Other claimed efficiencies

       141.    The Merging Parties have raised two additional pro-competitive justifications that

are not sufficient to eliminate the likely harms resulting from the Proposed Transaction in the

Consoles Markets. The first is that the Proposed Transaction will allow Microsoft to expand into

mobile gaming and create a new mobile game distribution platform.112 Such a potential benefit is

not evidently merger-specific and does not addresses harm in the relevant markets, as mobile

gaming is distinct from non-mobile gaming. The second is that the Proposed Transaction would

allow Microsoft to bring to Xbox certain exclusive Call of Duty add-on content previously

exclusive to PlayStation consoles. However, it is unlikely that bringing such add-on content to

Xbox would eliminate harm resulting from the foreclosure of PlayStation from Activision

content, including full game titles and not just add-on content.

V. Gaming services

V.A. Market definition

       142.    Content Library and Cloud Gaming Services, Content Library Services, and

Cloud Gaming Services are relevant antitrust product markets for analyzing the competitive

effects of the Proposed Transaction. The United States is a relevant geographic market for each

of these relevant product markets.




111
       PX4354 at -001 (email correspondence, Dec. 2022).
112
       PX5000 at -240 (Expert Report, ¶ 683).

                                                    52
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V.A.1. Content Library and Cloud Gaming Services

          143.       Content Library and Cloud Gaming Services is a relevant product market for

evaluating the competitive effects of the proposed transaction. As illustrated in Figure 6, this

market includes all video game subscription services that offer content library services for games

that are played primarily on non-mobile devices (e.g., consoles or PCs) or cloud gaming services

for games that are played primarily on non-mobile devices. The market also includes any gaming

services that offer both content library and cloud gaming services.

Figure 6: Gaming Services Markets




Source: PX5000 at -104 (Expert Report, Figure 22).
Note: The figure is illustrative and does not identify all products that compete in these markets.


          144.       Products in the Content Library and Cloud Gaming Services market that offer

content library services for games that are primarily played on non-mobile devices include,

among others, Xbox Game Pass (all tiers), PlayStation Plus (Extra and Premium tiers), Amazon

Luna+, and EA Play. This market also includes Nvidia GeForce Now, which offers cloud gaming

services but not content library services. Several of the products in this market offer both content

library and cloud gaming services for games that are primarily played on non-mobile devices,


                                                                   53
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including Xbox Game Pass Ultimate, PlayStation Plus Premium, and Amazon Luna+. Products

outside of the Content Library and Cloud Gaming Services market do not offer either content

library or cloud gaming services for games primarily played on non-mobile devices.

         145.     The Content Library and Cloud Gaming Services market is broader than and

wholly contains all products in the other two Gaming Services markets. Because Microsoft’s

Xbox Game Pass Ultimate product offers both content library and cloud gaming services, each

product in the Content Library and Cloud Gaming Services market competes with Xbox Game

Pass Ultimate on at least one of these services. Later, I define separately a narrower Content

Library Services market and a narrower Cloud Gaming services market. Defining narrower

markets helps focus attention more closely on a narrower set of products where competitive

effects may occur.

         146.     Evidence indicates that providers of content library and cloud gaming services

benchmark their pricing and features against other products in the market, consistent with the

products in the market being the largest constraints on each other’s pricing.

         147.     Notably, Microsoft has explicitly compared and benchmarked the pricing and

features of Xbox Game Pass to Sony’s PlayStation Plus Extra and Premium services, products

that are contained in this market.113 In a March 2022 email, Microsoft Gaming CFO Tim Stuart

created a table, reproduced in Figure 7, comparing the pricing and features of Xbox Game Pass

and PlayStation Plus.114




113
         As well, in a May 2022 “Gaming Leadership Team” slide deck, Microsoft noted that “[r]ecently, Sony
announced a rebranding of its subscription services to better compete with Game Pass. The new PlayStation Plus
subscription is merging with PS Now and comes with 3 tiers of content access. PlayStation Plus has a more limited
catalogue of titles available than Game Pass and will not add exclusive titles on the day of launch.” PX1022 at -048
(email correspondence and attachment, May 2022).
114
         PX1151 at -001 (email correspondence, Mar. 2022).

                                                         54
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Figure 7: Microsoft comparison of PlayStation Plus and Xbox Game Pass




Source: PX1151 at -001 (email correspondence, Mar. 2022).


          148.     Regarding pricing, Mr. Stuart of Microsoft wrote,




          149.




                                                                                              116



          150.     Sony

      the Content Library and Cloud Gaming Services market.117 For example, in a December 2019

PlayStation Plus strategy presentation




                                                                 .118



115
          PX1151 at -001 (email correspondence, Mar. 2022).
116
          PX7041, Deposition of Tim Stuart, Corporate deponent, Mar. 28, 2023 at 5:21–6:19.
117
          For instance,
118



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       151.    Evidence indicates that Microsoft also considers additional content library and

cloud gaming services, other than those offered by Sony, as competitors to Xbox Game Pass. For

example, in a July 2021 email regarding cloud gaming services, Microsoft Gaming CEO Phil

Spencer wrote, “To date our #1 competitor here is really nVidia with GeForce Now. But we keep

our eye on both Google and Amazon with Luna (also struggling).”119

V.A.1.a. Content Library and Cloud Gaming Services provide benefits to gamers not found
on products outside the market

       152.    Content library services within the Content Library and Cloud Gaming Services

market provide unique benefits to consumers that alternatives outside of this market do not

provide by providing subscribers access to a library of video games that are played primarily on

non-mobile devices for a periodic subscription fee.

       153.    Microsoft has acknowledged such benefits. For example, a Microsoft presentation

on Xbox Game Pass observes that

                                                                               ”120



           ”121 In a 2019 Microsoft slide deck discussing Game Pass, Microsoft notes that users

of Game Pass “enjoy the large and varied games library, especially the ones they consider AAA,”

“feel they are getting a good deal—lots of content for a low monthly price tag,” and “like to

discover and try new types of games.”122

       154.    Cloud gaming services within the Content Library and Cloud Gaming Services

market provide benefits that are not available from alternatives outside of this market. Cloud




119
       PX4157 at -002 (email correspondence, Jul. 2021).
120
       PX4695 at -025–026 (Annex 6.84, Xbox internal presentation).
121
       PX4695 at -026 (Annex 6.84, Xbox internal presentation).
122
       PX1603 at -012 (Xbox internal presentation, Jan. 2019).

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gaming services allow subscribers to play computationally demanding games on devices that do

not have the capacity to run those games themselves, allowing these games to be a played on a

wider variety of devices and providing greater flexibility for where and when games can be

played.

          155.   According to a declaration from Phil Eisler, Vice President and General Manager

of Nvidia GeForce Now, “Cloud gaming allows high-powered [computer processors] to be

hosted in the cloud. Consumers can access those high-powered processors through their devices

with low processing power, such as low-end laptops and mobile devices. As a result, cloud

gaming provides a high-end gaming experience, with rich graphics, without requiring consumers

to upgrade to the latest graphics card, PC, or console.”123

          156.   Industry participants, including Microsoft, acknowledge the value of cloud

gaming.124 For example:

      •   Mr. Eisler of Nvidia explains that “[s]hifting gaming hardware to the cloud has helped

          AAA gaming reach users in lower socioeconomic groups who otherwise would not be

          able to purchase, or could not afford, their own video game system or gaming PC.”125

      •   A 2020 Microsoft Gaming board presentation states that “xCloud game streaming is a

          new service growth area with potential to reach 2 billion players across the planet on

          every computing end-point. Estimated to be biggest streaming service globally.”126




123
          PX8000 at -002 (Declaration of Phil Eisler, Dec. 2, 2022).
124
          See also PX7036, Nadella Depo. Tr. at 165:21–166:10 (“Q. And do you see the entry here, Mr. Nadella,
where it reads: Microsoft is well positioned to deliver this vision of ubiquitous gaming given our capabilities in
content, community and cloud. Do you see that? A. Yeah, I do. Q. And these three pillars, content, community and
cloud, these are also the pillars that you highlight to the investment community as the core of Microsoft’s gaming
strategy; is that correct? A. That’s correct.”).
125
          PX8000 at -002 (Declaration of Phil Eisler, Dec. 2, 2022).
126
          PX1110 at -003 (Microsoft Gaming Board presentation, Mar. 2020).

                                                        57
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      •



                                                                                              127


          157.     Further, evidence indicates that users derive value from cloud services, and are

more valuable customers. For example, Microsoft documents indicate that cloud gaming users

had greater engagement than other users, and a 2022 report from the Xbox Cloud Gaming team

states that “gamers who play a title with cloud engage more, purchase more [downloadable

content] and install more games than their ‘lookalike’ peers” playing on console.128

Figure 8: Monthly hours played and total number of active users on Xbox Cloud Gaming
in the United States, by device, Sep. 2020–Feb. 2023




Source: PX5000 at -123 (Expert Report, Figure 26).
Note: Mobile devices include Android, iOS, iPad, Tizen OS, and Fire OS devices. PC includes macOS, Windows, Linux and Chrome
OS devices




127
          PX4617 at -009 (Microsoft FY23 xCloud strategy document).
128
          PX1025 at -007 (Microsoft “Powering Xbox Everywhere” presentation, May 2022).

                                                            58
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        158.     Cloud gaming is a nascent technology and is growing in usage. As shown in

Figure 8, cloud usage on Microsoft’s cloud gaming service offering through Xbox Game Pass

has increased, measured both by hours and the number of monthly active users.

V.A.1.b. Products outside of the Content Library and Cloud Services market

        159.     Products that do not offer content library or cloud gaming services would likely

not constrain a hypothetical monopolist of all content library or cloud gaming services from

profitably implementing a SSNIP.

        160.     Subscription services that focus on enabling online multiplayer gaming

(“multiplayer gaming subscription services”) are not in the Content Library and Cloud Gaming

Services market, as they do not offer the same diversity of content and game discoverability as

content library services which often offer a library of hundreds of games. Examples of such

services include Xbox Live Gold and PlayStation Plus Essential. Jerrett West, Corporate Vice

President of Gaming Marketing at Microsoft, testified that Xbox Live Gold is “currently separate

from Game Pass” and “the big difference is Game Pass has a catalog of games. Live Gold is

specifically focused on multiplayer gaming.”129

        161.     Apple Arcade and other services that offer access to a content library of games

that are primarily played on mobile devices are also not in the relevant market. Mobile games are

highly differentiated from video games primarily played on non-mobile devices, such as consoles

or PCs. According to the Merging Parties, “mobile games tend to be technically less advanced

with lower performance in terms of graphics, gameplay functionalities and features,” while




129
        PX7005, West IH Tr. at 20:3–24. (“Q. So Live Gold does not offer a catalog of games? A. They do not.”).
Likewise, PS Plus Essential does not offer a catalog of games. PX7053, Ryan Depo. Tr. (Vol. I) at 17:1–22.

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“console games [offer] a more advanced gaming experience in terms of graphics, music,

available options, gameplay, scope and depth of storyline.”130

        162.    Buy-to-play video games, whereby consumers purchase individual game titles,

are also not in the relevant market. The evidence indicates that substitution to buy-to-play titles

would be insufficient to render a SSNIP by a hypothetical monopolist of Content Library and

Cloud Gaming Services unprofitable.

        163.    Buy-to-play games are fundamentally different from products in the Content and

Gaming Services market, and do not provide the same access to a broad catalog of content for a

periodic fee or facilitate new content discovery in the same manner as the content library

services contained within this market.

        164.    Microsoft itself has indicated that it views Xbox Game Pass, and its content

library services, as complementary to and not a substitute for buy-to-play sales. In an email

discussing digital sales and subscription services addressed to a third-party publisher, Sarah

Bond, Microsoft Gaming Corporate Vice President of Creator Experiences and Ecosystem

Management, wrote that “[Microsoft’s] intent with Game Pass (GP) long-term is to be additive

to the ecosystem. Our research of subscriptions across media forms has shown that consumers

like and use both models” (emphasis added).131

        165.    I concluded that the Content Library and Cloud Gaming Services market satisfies

the HMT and is a relevant product market.




130
         PX0006 at -052 (European Commission Form CO, Case M. 10646, Acquisition by Microsoft of Activision
Blizzard, Sep. 30, 2022).
131
         PX1767 at -001 (email correspondence, Apr. 2019).

                                                    60
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V.A.2. Content Library Services

       166.    A narrower market wholly contained within the Content Library and Cloud

Gaming Services market consisting only of Content Library Services is also a relevant product

market for analyzing the competitive effects of the Proposed Transaction. The Content Library

Services market contains all content library services that offer access to games that are played

primarily on non-mobile devices.

       167.    Products in the Content Library Services market include Xbox Game Pass (all

tiers), PlayStation Plus (Extra and Premium tiers), Nintendo Switch Online, Amazon Luna+ and

Prime Gaming, EA Play, and Ubisoft+.

       168.    The evidence presented above indicates that a hypothetical monopolist of the

broader Content Library and Cloud Gaming Services market likely would profitably implement a

SSNIP on at least one product contained in that market, including at least one product owned by

Microsoft. Excluding Cloud Gaming Services that do not offer content library services, such as

Nvidia’s GeForce NOW, does not prevent a hypothetical monopolist of a narrower Content

Library Services market from likely implementing a SSNIP on at least one such product offering

content library services.

       169.    First, the evidence presented above indicates that products offering content library

services—including Xbox Game Pass Ultimate and PlayStation Plus Premium—impose

significant price constraints on one another.

       170.    Second, as discussed above, there are valuable features provided by content

library services that are absent from gaming services that do not offer a content library, notably

facilitating game discovery and providing access to a wide set of games for a periodic

subscription fee. These features are absent from gaming services that do not offer a content

library, including cloud gaming services with a BYOG model such as Nvidia GeForce Now.

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        171.     Third, there is evidence that market participants view content library services as a

distinct set of products.




                                                                        .132

        172.     I concluded that Content Library Services market satisfies the HMT and is a

relevant product market.

V.A.3. Cloud Gaming Services

        173.     A narrower market wholly contained within the Content Library and Cloud

Gaming Services market consisting only of Cloud Gaming Services is also a relevant product

market for analyzing the competitive effects of the Proposed Transaction. The Cloud Gaming

Services market contains all cloud gaming services that offer access to games that are played

primarily on non-mobile devices.

        174.     Products in the Cloud Gaming Services market include Xbox Game Pass

Ultimate, PlayStation Plus Premium, Nvidia GeForce Now, Amazon Luna+ and Prime Gaming.

With the exception of Nvidia GeForce Now, these products also offer content library services.

Given the nascency of cloud gaming services, the competitive landscape continues to evolve.133

        175.     Excluding services from the broader Content Library and Cloud Gaming Services

market that do not offer cloud gaming services—i.e., services that offer content library but not


132
        PX1995 at -008 (email correspondence and attached Game Pass License Agreement, Apr. 2022).
133

                                                   See also PX4181 at -019 (email correspondence and
attachments, Dec. 2022).

                                                    62
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cloud gaming services—from this broader market does not prevent a hypothetical monopolist of

a narrower Cloud Gaming Services market from likely implementing a SSNIP on at least one

cloud gaming services product.

         176.      First, as discussed above, there are distinct benefits provided by cloud gaming

services that are absent from non-cloud gaming services. For the set of consumers seeking cloud

gaming capabilities, gaming services that do not offer access to cloud gaming services are not

effective substitutes for products in the Cloud Gaming Services market. Moreover, evidence

indicates that Microsoft and other industry participants acknowledge the value of cloud gaming,

that cloud gaming users tend to play and spend more than other users, and some users

specifically value cloud gaming services.

         177.      Second, there is substantial evidence that Microsoft considers cloud gaming

services as a distinct product segment and other cloud gaming service providers as competitors.

For example, an October 2022 Microsoft presentation directly compares “Other Cloud Gaming

Solutions,” including Nvidia GeForce Now, PlayStation Plus, and Amazon Luna:

Figure 9: Microsoft’s analysis of Cloud Gaming competitors, Oct. 2022




Source: PX5000 at -136 (Expert Report, Figure 32).

                                                     63
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        178.     Third, there is evidence that Microsoft and Nvidia GeForce Now, in particular,

view one another as competitors. For example, a March 2021 email from Head of Xbox Game

Studios Matt Booty noted that “[w]e have pulled all [Xbox Game Studios] titles from GeForce

now so as to not compete with xCloud.”134 Additionally, a declaration from Phil Eisler, Vice

President and General Manager of Nvidia GeForce Now, explains that GeForce Now

benchmarks its pricing to other cloud gaming services, including Xbox Game Pass Ultimate.135

        179.     The combined qualitative and quantitative evidence supports the conclusion that a

hypothetical monopolist owning cloud gaming services for video games primarily played on

non-mobile devices would likely implement a SSNIP on at least one of these products.136 Hence,

the Cloud Gaming Services market satisfies the HMT and is a relevant product market.

V.A.4. Geographic market

        180.     The United States is a relevant geographic market for the (i) Content Library and

Cloud Gaming Services market, (ii) the Content Library Services market, and (iii) the Cloud

Gaming Services market for assessing the competitive effects of the Proposed Transaction.

        181.     Evidence indicates that customers do not view purchasing content library services

or cloud gaming services in another country as a reasonable substitute for purchasing those

gaming services in the United States, and gaming services vary in pricing, content, and

availability across countries.




134
       PX4351 at -002 (email correspondence, Mar. 2021).
135
       PX8000 at -007 (Declaration of Phil Eisler, Dec. 2, 2022).
136
       For example, evidence indicates that a hypothetical monopolist of cloud gaming services would likely
implement a SSNIP on Nvidia’s GeForce Now product.

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        182.     First, evidence indicate that gaming service pricing and competition is country-

specific. Jerret West, Microsoft Corporate Vice President of Gaming Marketing, testified Xbox

Game Pass pricing varies by country and is responsive to local competitive conditions.137

        183.     Second, the availability of gaming services varies by country, even if such

services are provided by the same company. According to Microsoft’s web site, Xbox Game Pass

for PC supports many more countries than Game Pass Ultimate or Game Pass for Console.138 As

of April 2023, Xbox Cloud Gaming is only available in 28 countries, and is released on a

country-by-country basis.139

        184.     Third, the availability of games on content library services also varies by country.

According to Microsoft, “[g]ame titles, number, features and availability [on Xbox Game Pass]

vary over time, by region and platform.”140

        185.     Fourth, evidence indicates that proximity to cloud services is important to cloud

gaming performance.141

        186.     This combined evidence supports the conclusion that the United States is a

relevant geographic market for the three Gaming Services Markets.



137
        PX7005, West IH Tr. at 221:18–222:11




138
        PX5000 at -138 (Expert Report, ¶ 352). PX1019 at -025 (email correspondence and attachment, Aug.
2019) (2019 Microsoft document noting that Activision was

                                                          . See also PX1624 at -026–027 (Xbox internal
presentation, Jul. 2019) (discussing launch of Game Pass Streaming Beta program by region).
139
         PX5000 at -139 (Expert Report, ¶ 353).
140
         PX5000 at -139 (Expert Report, ¶ 355).
141
         PX5000 at -139–140 (Expert Report, ¶ 356).

                                                       65
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V.B. Ability and incentive to foreclose in the Gaming Services Markets

       187.    The Merged Entity would have the ability to foreclose Microsoft’s rivals in each

of the Gaming Services Markets from Activision content.

       188.    Importantly, the Merged Entity would have the ability to foreclose Microsoft’s

rivals in the Gaming Services Markets from both new and back-catalog content. My analysis

shows that the majority of console game play hours on Xbox Game Pass are spent on games that

were released over a year prior, and    % of console game time across all publishers is for games

that have been released over six months prior.

       189.    As to incentive, the Merged Entity would have a greater economic incentive to

engage in foreclosure than an independent Activision in the Gaming Services Markets. In

addition, the Merged Entity would likely have the economic incentive to engage in foreclosure by

withholding Activision content from, or degrading Activision content to, Microsoft’s rivals in the

Gaming Services Markets.

       190.    To understand why Merged Entity would have a greater economic incentive to

engage in foreclosure, compare the economic incentives of an independent Activision to the

incentives of an Activision merged with Microsoft. Activision’s standalone independent

incentives to foreclose, or continue foreclosing, Microsoft’s rivals offering content library or

cloud gaming services are unlikely to be significantly reduced by the Proposed Transaction. In

contrast, Microsoft’s benefits from foreclosure, or continued foreclosure, of rival gaming

services are likely to be meaningful and significant. Hence, the Merged Entity, which considers

the incentives faced by both Microsoft and Activision, will have a greater incentive than an

independent Activision to engage in foreclosure in Gaming Services Markets.




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          191.   Evidence discussed above that consumers’ gaming service purchase decisions are

significantly affected by the availability of Activision content implies that Microsoft’s benefits

from foreclosing rival gaming services from Activision content include capturing additional

Xbox Game Pass sales and, potentially, additional Xbox console sales. Foreclosure of rival

gaming services would likely also induce some consumers who otherwise would have spent their

gaming time and money on a rival console or PC device to instead spend more on Microsoft

products and services, generating greater profits for Microsoft.142

          192.   Microsoft also realizes additional and longer-term benefits from foreclosing rival

gaming services and gaining scale in Xbox Game Pass. Several Microsoft documents explicitly

reference benefits of gaining scale in content library and cloud gaming service markets,

including making content “more expensive for competitors.” For example:

      •   A February 2020 Microsoft slide deck discussing Game Pass noted that “[o]ngoing scale

          [is] critical to driving durable success for content subs… The time to invest in Game Pass

          is now: accelerating leadership position, particularly off console, which will make future

          content bets more efficient for Microsoft (and more expensive for competitors).”143

      •   A July 2020 Microsoft presentation on its ZeniMax acquisition states, “Xbox Game Pass

          faces increasing competition; our window to scale subscribers & accelerate this virtuous

          cycle is narrowing[.] … Acquiring ZeniMax would unlock nonlinear growth for Xbox

          Game Pass, establishing a long-term economic beachhead.”144

      •   An internal email exchange within the Office of the Chief Economist explains, “We see

          two channels for value from exclusivity [with regard to Game Pass]: 1) market stealing


142
        PX5000 at -191 (Expert Report, ¶ 509).
143
        PX1049 at -003 (Microsoft internal presentation, Feb. 2020).
144
        PX1050 at -004 (email correspondence and attachment, Jul. 2020). See also PX1313 at -002 (email
correspondence, May 2021) (regarding the potential acquisition of Bungie).

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          from other subscription services and 2) market shrinking of competitors from not having

          the content but trying to grow their user base.”145

          193.   In addition to the above, evidence indicates that the Merged Entity would likely

have the economic incentive to engage in foreclosure in Gaming Services Markets by

withholding Activision content from, or degrading Activision content for, Microsoft’s rivals.

          194.   With regard to content library services, Microsoft’s statements and internal

documents indicate that Microsoft has the likely economic incentive to withhold Activision

content from rivals.146 Such statements are also consistent with actions and statements that

Microsoft made for prior acquisitions, and in the case of Minecraft and ZeniMax, followed

through on.147 For example:

      •   Microsoft Gaming CEO Phil Spencer, in a September 2021 email to members of Gaming

          Leadership team, wrote, “




                                                                     ”148

      •




145
         PX4267 at -003 (email correspondence, Feb. 2020).
146
         For example, in response to CMA Phase 1 Decision, Microsoft noted that, “Xbox may differentiate Game
Pass by including Activision Blizzard games in Game Pass, whilst not making the titles available in the same
manner or at the same time on other subscription services.” PX0014 at -024 (Microsoft’s Response To The CMA’s
Reference Decision). See also PX0006 at -020 (European Commission Form CO, Case M. 10646, Acquisition by
Microsoft of Activision Blizzard, Sep. 30, 2022) (“users of rival subscription services may not have access to games
such as Call of Duty through a subscription service other than Game Pass”).
147
         See also PX1651 at -013–014 (ZeniMax Form CO, Jan. 2021) (“Microsoft does, however, plan to make the
Xbox Game Pass subscription service the only gaming subscription service in which ZeniMax games are
available.”).
148
         PX1897 at -001 (email correspondence, Sep. 2021). PlayStation Now was a precursor of the PlayStation
Plus Premium tier.

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      •



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          195.   With regard to rivals offering cloud gaming services, Microsoft indicated in

internal communications its willingness to foreclose rival cloud gaming services from its first-

party content. For example, in March 2021, Head of Xbox Game Studios Matt Booty wrote in an

email that “[w]e have pulled all [Xbox Game Studios] titles from GeForce now so as to not

compete with xCloud.”151 The content that Microsoft pulled included popular games that

Microsoft had previously acquired, including Minecraft.152 In another email in the same chain,

Mr. Booty wrote, “[W]e are NOT putting our first party IP on competing streaming or

subscription services.”153

V.C. Harm to competition and consumers from foreclosure

          196.   After concluding that the Merged Entity would have the ability and likely

economic incentive to foreclose rivals in the Gaming Services Markets, I evaluated the likely

harm arising from such foreclosure relative to a but-for world in which an independent

Activision would more likely support gaming services offered by Microsoft’s rivals.154

          197.   In my description of this but-for world, I use the term “more likely” to mean that

Activision has a greater likelihood of supporting certain Microsoft rivals without the merger than


149
         PX1065 at -008 (email correspondence and attachment, Nov. 2020).
150
         PX1529 at -021 (email correspondence and attachment, Jan. 2020).
151
         PX4351 at -002 (email correspondence, Mar. 2021).
152
         PX7060, Deposition of Phillip Eisler, Apr. 12, 2023 [hereinafter “Eisler Depo. Tr.”] at 99:16–100:3.
153
         PX4351 at -001 (email correspondence, Mar. 2021).
154
         This statement does not include the cloud providers that Microsoft has already signed an agreement with,
including Nvidia GeForce Now, Ubitus, and Boosteroid.

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with the merger. I use such language because both the but-for world and the with-merger worlds

are dynamic and uncertain—just like the real world. Importantly, I do not assume that Activision

content would be available on content library or cloud gaming services offered by Microsoft’s

rivals for certain but for the merger. Rather, because an independent Activision has a greater

economic incentive to support Microsoft’s rivals than the Merged Entity, it follows that an

independent Activision would be more likely than the Merged Entity to support certain rivals as

the Gaming Services Markets continue to evolve and develop.

          198.    Even so, testimony and documentary evidence indicate that an independent

Activision would be willing, under the right economic circumstances, to support non-Microsoft

subscription services.155 For example:

      •   Activision CEO Bobby Kotick testified that Activision’s “goal is to get our games out to

          as many people on as many devices as possible” and that factors that determine whether

          an Activision game is available



                         l.156

      •   Activision content has previously been available on Sony and Nvidia’s gaming

          services,157




155
          For example, a March 2020 Activision slide presentation regarding




156
         PX7006, Kotick IH Tr. at 135:13–138:25.
157
         Activision titles were available on Nvidia’s GeForce Now between June 2017 and February 2020,
including multiple Call of Duty titles. PX8000 at -008–009 (Declaration of Phil Eisler, Dec. 2, 2022).

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          titles available on its service

                                                         .158

      •   A September 2019 Activision slide presentation regarding



                                            .159
                                                                                    160



                                                                                    ”161



                                                                                 ”162

          199.    As noted above, other large publishers, including all of the other “Big 4”

publishers support gaming services through Xbox Game Pass. EA and Ubisoft also support cloud

gaming through Nvidia GeForce Now.163

          200.    While there is uncertainty regarding whether, and with what content, Activision

would support Microsoft’s rivals, this does not mean that one cannot obtain economic

conclusions regarding probable competitive effects. From an economic perspective, it is

appropriate to analyze the competitive effects of a transaction across the range of possible

outcomes given uncertainty about the future.


158
          See PX8000 at -009




159
          PX2159 at -007–010 (email correspondence and attachment, Sep. 2019).
160
          PX2159 at -004 (email correspondence and attachment, Sep. 2019).
161
          PX2159 at -010 (email correspondence and attachment, Sep. 2019)


            t, emphasis original).
162
          PX2159 at -007 (email correspondence and attachment, Sep. 2019).
163
          PX7060, Eisler Depo. Tr. at -164:17–164:23.

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       201.    Foreclosing Microsoft’s rivals in Gaming Services Markets by withholding or

degrading Activision content will tend to reduce the competitiveness of gaming services that

Microsoft competes with and likely lead to consumer harm through higher prices, lower quality,

reduced product variety, and less innovation relative to a but-for world in which an independent

Activision would be more likely to supply Microsoft’s rivals. Foreclosure would weaken the

competition faced by Microsoft from firms providing content library and cloud gaming services

and increase Microsoft’s market power in markets where Microsoft is already a market leader.

       202.    Cloud gaming services are still nascent and continuing to develop, with a greater

potential for entrants to meaningfully create value for consumers by introducing alternative ways

to access games. Cloud gaming services have exhibited rapid growth in usage in the past one to

two years, and, as a result, harm from foreclosure in the present is likely to be magnified in the

future if entrants and smaller players are significantly disadvantaged.164

V.C.1. Entry

       203.    Evidence indicates that entry or expansion into Gaming Services Markets is

unlikely to be timely, likely, or sufficient to reverse the likely harm of the Proposed Transaction.

       204.    Evidence indicates entry and success into Gaming Services Markets is difficult.

The data indicate that most other gaming services available today significantly lag the scale of

Xbox Game Pass.165 And, the recent discontinuation of Google Stadia provides evidence that

entry into cloud streaming services is challenging, even for well-financed companies.166




164
       See PX1517 at -008 (Xbox internal presentation, May 2022)


165
       PX5000 at -237 (Expert Report, ¶ 668).
166
       PX7035, Kotick Depo. Tr. at 154:18–155:5.

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         205.     Cloud gaming services, in particular, require substantial infrastructure. As of

October 2022,                                                                                            .167



                    168




                                                                169



         206.     There is also evidence of significant economies of scale in gaming services,

which gives established incumbents a significant advantage over potential entrants or less

established competitors. Moreover, the cost of content for entrants increases if incumbents lock

up limited available content.170

         207.     It is unlikely that entrant gaming services will be able to replace Activision

content in their prospective video game catalogs if they are foreclosed.

V.D. Potential pro-competitive effects

         208.     Defendants’ economic experts asserted three categories of potential “merger-

specific efficiencies” arising from the Proposed Transaction in the Gaming Services Markets: (i)

Activision content becoming available on Xbox Game Pass, (ii) an “alignment of incentives”

between Microsoft and Activision, and (iii) increased distribution of Activision content through

Microsoft’s 2023 contracts with cloud gaming services.171




167
          PX4154 at -005 (email correspondence and attachment, Oct. 2022).
168
          PX1039 at -002 (email correspondence and attachment, Jan. 2022).
169
          PX7060,
170
          PX1877 at -001 (email correspondence and attachment, Feb. 2021). In addition, a Microsoft presentation
states, “Public studies suggest that 75% of customers prefer paying for content and streaming capability together,
which may prove challenging for Stadia and smaller players.” PX1613 at -005 (email correspondence and
attachment, Jul. 2019).
171
          Carlton Report, ¶ 12; Bailey Report, ¶¶ 129-132.

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       209.    It is not evident that these claimed efficiencies are merger-specific, but, even if

they were, the Merging Parties have not quantified these claimed efficiencies or provided

evidence that these efficiencies are likely to eliminate or offset the likely harms arising from the

Proposed Transaction in the Gaming Services Markets.

V.D.1. Activision content on Xbox Game Pass

       210.    As noted above with regards to the Consoles Markets, there are several reasons

why Activision content would likely be available on Xbox Game Pass in the but-for world absent

the Proposed Transaction. Hence, it is not evident that plans to bring Activision content to Xbox

Game Pass are merger-specific.

       211.    However, there is uncertainty regarding Activision’s support of Xbox Game Pass

but-for the Proposed Transaction, especially with respect to new titles being made available day

and date. Hence, I also evaluate Activision support of Xbox Game Pass as if it were merger-

specific. However, even if considered merger-specific, I have not seen evidence that bringing

Activision content to Xbox Game Pass would eliminate or offset the likely harms arising in the

evolving and developing Gaming Services Markets, and neither the Merging Parties nor their

economic experts have quantified these claimed efficiencies.

       212.    Additionally, the inclusion of Activision content on Xbox Game Pass is likely to

increase Microsoft’s incentive to increase the price of Game Pass, thereby reducing any potential

value of inclusion of Activision content on Game Pass.

V.D.2. Agreements with cloud gaming service providers

       213.    In 2023, Microsoft signed agreements with cloud gaming service providers,

including Nvidia, Ubitus, and Boosteroid, to support their services with Activision content if the

Proposed Transaction is consummated. It is not evident that this agreement would eliminate or



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offset harm in the Gaming Services Markets arising from the likely foreclosure of Microsoft’s

rivals from Activision content as a result of the Proposed Transaction for at least four reasons:

       214.    First, an independent Activision would have a greater economic incentive to

support Microsoft’s rivals than the Merged Entity. Hence, if bringing Activision content to these

gaming services were in the Merged Entity’s economic interests, then it would likely be in an

independent Activision’s interests to do so, as well. In this case, any benefits arising from such

an agreement would not likely be merger-specific.

       215.    Second, these agreements pertain only to cloud gaming services and do not

address likely harm in the Content Library Services market.

       216.    Third, these agreements do not address foreclosure of rivals offering content

library services alongside cloud gaming services, including Sony’s PlayStation Plus Premium

and Amazon’s Luna+. They also do not address foreclosure of rivals in the United States with

whom Microsoft does not have an agreement, or future entrants.

       217.    Fourth, these agreements also do not protect customers of the cloud gaming

services with whom Microsoft has agreements, like Nvidia GeForce Now, from a lessening of

competition in Gaming Services Markets, which can result in higher prices, lower quality, or

reduced innovation in the relevant markets.



                I declare under penalty of perjury that the foregoing is true and
               correct. EXECUTED on June 25, 2023.




                                                      Robin S. Lee, PhD



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           Appendix A: Curriculum vitae
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Robin S. Lee, PhD

Education

   ◼   PhD, Business Economics, Harvard University
   ◼   AM, Economics, Harvard University
   ◼   AB, Economics, Harvard University, magna cum laude

Academic positions

   ◼   Harvard University, Department of Economics
       ◼    Professor of Economics, 2019–present
       ◼    Associate Professor of Economics, 2018–2019
       ◼    Assistant Professor of Economics, 2014–2018
   ◼   New York University Stern School of Business

       ◼    Assistant Professor of Economics, 2009–2014

Research affiliation, academic visits, and other positions

   ◼   Research Associate, National Bureau of Economic Research, 2019–present (Faculty Research Fellow,
       2014–2019).
   ◼   MIT Sloan School of Management, Applied Economics, Fall 2016
   ◼   Yale University, Cowles Foundation, September 2016
   ◼   Columbia University, Dept of Economics, Nov 2016, Spring 2014
   ◼   Harvard University, Department of Economics, Spring 2013
   ◼   Northwestern University, Center for the Study of IO, Spring 2012
   ◼   New York University Stern School of Business, Visiting Scholar, 2008–2009
   ◼   Yahoo! Research, Research Scientist (Post-Doc), 2008–2009

Editorial boards

   ◼   American Economic Journal: Microeconomics, Editorial Board, 2019–2020; Co-Editor, 2020–present
   ◼   International Journal of Industrial Organization, Associate Editor, 2011–2020
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Selected publications

Referred publications

   ◼   “A Theory of Stock Exchange Competition and Innovation: Will the Market Fix the Market?” (with
       Eric Budish and John Shim), accepted, Journal of Political Economy.
   ◼   “Health Insurance Menu Design for Large Employers” (with Kate Ho), accepted, Rand Journal of
       Economics.
   ◼   “The Price Effects of Cross-Market Hospital Mergers” (with Leemore Dafny and Kate Ho), Summer
       2019, Rand Journal of Economics, 50(2): 286-325.

       ◼   Awarded Best Antitrust Article on Mergers, American Antitrust Institute, 2019.
   ◼   “Equilibrium Insurer-Provider Networks: Bargaining and Exclusion in Health Care Markets” (with
       Kate Ho), February 2019, American Economic Review, 109(2): 473-522.
   ◼   “‘Nash-in-Nash’ Bargaining: A Microfoundation for Applied Work” (with Allan Collard-Wexler and
       Gautam Gowrisankaran), February 2019, Journal of Political Economy, 127(1): 163-195.
   ◼   “The Welfare Effects of Vertical Integration in Multichannel Television Markets” (with Greg
       Crawford, Michael Whinston and Ali Yurukoglu), May 2018, Econometrica, 86(3): 891-954.
       ◼   Awarded Best Paper Prize, Association of Competition Economics, 2019.
   ◼   “Interviewing in Two-Sided Matching Markets” (with Michael Schwarz), Fall 2017, Rand Journal of
       Economics, 48(3): 835-855.
   ◼   “Hospital and Physician Prices and Treatment Choice in Labor and Delivery” (with Patricia Foo and
       Kyna Fong), Summer 2017, American Journal of Health Economics, 3(3): 422-453.
   ◼   “Insurer Competition in Health Care Markets” (with Kate Ho), March 2017, Econometrica, 85(2):
       379-417.
       ◼   Awarded the Frisch Medal, Econometric Society, 2020
   ◼   “Competing Platforms,” Fall 2014, Journal of Economics and Management Strategy, 23(3): 507-526.
   ◼   “Vertical Integration and Exclusivity in Platform and Two-Sided Markets,” December 2013,
       American Economic Review, 103(7): 2960-3000.
   ◼   “Exclusivity and Control” (with Andrei Hagiu), Fall 2011, Journal of Economics and Management
       Strategy, 20(3): 679-708.

Other publications

   ◼   “Structural Empirical Analysis of Contracting in Vertical Markets” (with Michael Whinston and Ali
       Yurukoglu), 2021, Handbook of Industrial Organization, Volume 4, eds. Ali Hortaçsu, Kate Ho, and
       Alessandro Lizzeri, Elsevier.
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  ◼   “AT&T/Time Warner and Antitrust Policy Toward Vertical Mergers” (with Gregory S. Crawford,
      Michael D. Whinston, and Ali Yurukoglu), 2019, Competition Policy International, 1(2).
  ◼   “Narrow Medical Provider Networks: Welfare Implications and Approaches to Market Design” (with
      Kate Ho), 2016, More Equal By Design: Economic Design Responses to Inequality, eds. Scott Duke
      Kominers and Alex Teytelboym, Oxford University Press.
  ◼   “Empirical Models of Bilateral Contracting,” 2015, Emerging Trends in the Social and Behavioral
      Sciences, eds. Robert A. Scott and Stephen M. Kosslyn, Wiley.
  ◼   “Home Videogame Platforms,” 2012, The Oxford Handbook of the Digital Economy, eds. Martin
      Peitz and Joel Waldfogel, Oxford University Press

Honors and awards

  ◼   Frisch Medal, Econometric Society, 2020

      ◼   (Best applied paper published in prior four years in Econometrica)
  ◼   Best Antitrust Article on Mergers, American Antitrust Institute, 2019
  ◼   Best Paper Prize, Association of Competition Economics, 2019

      ◼   (Best paper on competition policy published in 2018)
